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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

     * * * * * * * * * * * * * * * *
    UNITED STATES OF AMERICA,               )   Criminal Action
                                            )   Nos. 21-cr-222-01
    vs.                                     )   21-cr-222-02
                                            )
    JULIAN ELIE KHATER and                  )   January 27, 2023
    GEORGE PIERRE TANIOS,                   )   1:12 p.m.
                   Defendants.              )   Washington, D.C.
                                            )
    * * * * * * * * * * * * * * * *

                         TRANSCRIPT OF SENTENCING
                  BEFORE THE HONORABLE THOMAS F. HOGAN,
                UNITED STATES DISTRICT COURT SENIOR JUDGE

    APPEARANCES:

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                            (Appearances continued)
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                           ELEANORA LANZONE, Paralegal


    Court Reporter:        Elizabeth Saint-Loth, RPR, FCRR
                           Official Court Reporter


               Proceedings reported by machine shorthand.
          Transcript produced by computer-aided transcription.
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1                                P R O C E E D I N G S

2                    THE COURTROOM DEPUTY:       Your Honor, this is

3        Criminal Matter 21-222, United States of America versus

4        Julian Elie Khater as Defendant 1, and George Pierre Tanios

5        as Defendant 2.

6                    May I have counsel and probation approach the

7        lectern and state your appearance for the record, beginning

8        with the government.

9                    MR. LIGHT:     Good afternoon, Your Honor.

10       Gilead Light and Anthony Scarpelli for the United States.

11                   THE COURT:     All right.    Thank you, Mr. Light and

12       Mr. Scarpelli.       Good to see you.

13                   MR. SEIGEL:     Good afternoon, Your Honor.

14       For Julian Khater, Chad Seigel.         And with me, from my

15       office, is Eleanora Lanzone; she's a paralegal.

16                   THE COURT:     All right.    Thank you, Mr. Seigel.      I

17       appreciate it.

18                   MS. GROSS:     Good afternoon, Judge.

19       Beth Gross on behalf of Mr. Tanios, along with

20       Richard Walker and Aaron Moss.

21                   THE COURT:     All right.    Thank you, Ms. Gross,

22       Mr. Walker, and Mr. Moss.

23                   THE PROBATION OFFICER:       Good afternoon, Your

24       Honor.    Sherry Baker on behalf of the probation office.

25                   THE COURT:     Thank you, Ms. Baker.
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1                     All right.    We're here this afternoon for the

2        sentencing of Mr. Khater and Mr. Tanios.

3                     To make sure people understand this process --

4        what we're doing here, because there are perhaps individuals

5        here -- and family members -- who aren't familiar with the

6        sentencing process.       After a plea of guilty, the Court has a

7        presentence report prepared through the probation office by

8        probation officers who are officers of the Court whose

9        specialty is in criminology and have graduate degrees in

10       that area.     They prepare a presentence report after

11       reviewing the charges, interviewing the defendant, talking

12       with the family members, doing other research about the

13       case, talking with the prosecutors, and prepare a

14       substantial presentence report that is given to the

15       parties -- that is, to the defendants -- who have an

16       opportunity to read it and review it, along with their

17       counsel, along with a recommendation as to the type of

18       sentence that should be given under the law.            That is also

19       given to the defendants and to counsel.

20                    Each side has an opportunity to object to the --

21       certain factors in the presentence report and the

22       determination of the sentence and the facts that are

23       reported in the report.      The Court then makes a

24       determination of what to accept in a report or not if that

25       occurs.    So there is rather complete transparency in the
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1        preparation and returning to the Court the presentence

2        report.    The parties, again, have an opportunity to review

3        it, comment on it, and then it's given to the Court.

4                    Additionally, each side through their counsel can

5        offer memorandums in aid of sentencing, both on the law and

6        the facts of this case, which both sides obviously have done

7        in this case, and they can offer exhibits as part of that

8        sentencing memorandum.      They may be letters from family and

9        friends supporting one side or the other.            They may be

10       victims who are entitled to their views about the situation

11       or what they think is appropriate in the case.             The Court

12       takes all of those into account.

13                   I have received multiple letters on behalf of the

14       defendants which I have reviewed carefully.            There is one

15       sealed exhibit from Mr. Khater I have reviewed, and medical

16       records.

17                   Additionally, we have been advised by the

18       government -- we did a presentence status call a few days

19       ago, when I met with counsel and the defendants over Zoom,

20       and discussed proceedings in this matter.            And as part of

21       that, I raised an issue about fines or not, and how that can

22       be considered -- additionally, as to proceedings today and

23       how we could best proceed.

24                   I believe the suggestion was, by counsel, that we

25       proceed to take any witnesses who wish to be -- testify in
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1        front of the Court as to their position.             As I said,

2        "witnesses" meaning family members and victims of any

3        wrongdoing that wish to be heard.

4                     So we'll proceed to do that first.          Then I will

5        hear from counsel as to their positions, starting -- I

6        believe we had talked about starting with Mr. Tanios first?

7        I was trying to think about that.

8                     Mr. Khater first?

9                     MR. SCARPELLI:    Khater first.

10                    THE COURT:   Khater first?      All right.      I will

11       accept that; I'm prepared either way.

12                    So we'll talk about Mr. Khater's situation first

13       after we hear the witnesses, and we'll hear from counsel.

14       And then we will go forward, after that, with the sentencing

15       of Mr. Khater, and then we'll proceed to Mr. Tanios.

16                    So with that background, I will see if the

17       government is ready to proceed with any victim testimony

18       they wish to call at this time.

19                    MR. LIGHT:   Thank you, Your Honor.

20                    At this time the government is prepared to

21       proceed --

22                    THE COURT:   I'm sorry.     Just one moment.

23                    (Whereupon, the Court and staff confer.)

24                    THE COURT:   All right.     Go ahead.

25                    MR. LIGHT:   Thank you, Your Honor.
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1                    We are prepared to proceed with our sentencing

2        today.    And we have five individuals -- I'm sorry -- six

3        individuals who are prepared to offer victim impact

4        statements at this time.       We have discussed with them Your

5        Honor's request that we avoid repetitiveness and maybe

6        condense some of these.      But we do appreciate the Court

7        hearing from five members of Officer Brian Sicknick's family

8        who would like to address the Court, and Officer Caroline

9        Edwards after that.      I am ready to proceed, and invite the

10       first victim to deliver an impact statement if the Court is

11       ready.

12                   THE COURT:    All right.       I will do that.

13                   I will just note on the Zoom conference, when we

14       had this -- when this was brought up, I did as Mr. Light has

15       suggested -- I asked they not be duplicative because I have

16       read -- each of their statements have already been

17       submitted, I believe, in the memorandum by the government on

18       the victim impact statements.

19                   Additionally, there was one concern that I will

20       address at the time of sentencing, as to the beliefs

21       expressed in the victim impact statements, which I am going

22       to hear carefully, as to Mr. Khater's actions causing the

23       death of Officer Sicknick.          But I ruled that they can be

24       heard today and the positions that they have as to the loss

25       of their family member.      All right.
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1                    MR. LIGHT:    Thank you, Your Honor.

2                    We would ask Ms. Gladys Sicknick to approach the

3        lectern.

4                    THE COURT:    All right.        Please come up.

5                    Yes, Ms. Sicknick.       You may go ahead.

6                    Would you introduce yourself to the Court for the

7        record, please.

8                    MS. G. SICKNICK:        My name is Gladys Sicknick.

9        I am Brian Sicknick's mom.

10                   THE COURT:    Thank you.

11                   MS. G. SICKNICK:        Thank you.

12                   Today I did not get dressed up because I dressed

13       up in Brian's -- this is Brian's shirt.

14                   THE COURT:    All right.

15                   MS. G. SICKNICK:        And I just thought it was

16       something I had to do.

17                   THE COURT:    I appreciate it, and I appreciate the

18       strain you're under.      Can you please try to talk right into

19       the mic.    We all have to hear you here.

20                   MS. G. SICKNICK:        Okay.

21                   751 days, that's how much time has passed since

22       January 6, 2021.      And each and every day, I and my family

23       are reminded of what you did to my son Brian.              There is

24       hardly an hour's respite.       With every news report,

25       newspaper, on the internet -- we are pummeled by the
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1        horrific images of that day.        But we also see the face of my

2        son and those of courageous men and women who stood their

3        ground to protect our democracy from a vicious mob.               And I

4        see you, Mr. Khater.      You are a center stage in our

5        recurring nightmare.

6                    Just when raw nerves have begun to heal, we are

7        carried back to the scene of your crime.             You, among all the

8        other crazies, you are the reason Brian is dead, Mr. Khater.

9        You alone, today, sir.      But on January 6th you were on the

10       front lines of a violent mob.        And for what?

11                   While you were assaulting police officers whose

12       duty is to keep the peace and secure our Capitol, you can't

13       possibly have thought you were doing the right thing.                 A

14       Congressman from Georgia, I think, described January 6th as

15       being like any other day; just another Wednesday with

16       tourists admiring the Rotunda.

17                   Did you feel like a tourist, Mr. Khater, watching

18       my son fighting for his life?

19                   Thank God the footage of Brian facing off with

20       your fellow, "patriots" is kept secure as evidence by the

21       FBI.   At least we have been spared that torture.

22                   The rioters who breached the Capitol that day,

23       whether or not they have been charged with crimes, all of

24       you are culpable in Brian's death.         All of you bear

25       responsibility for the injuries sustained by Brian's fellow
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1         officers:    The broken bones, head trauma, and the continuing

2         mental anguish they suffer and will endure for the rest of

3         their lives.    Imagine the emotional pain that would cause

4         someone to take his own life.        Four officers committed

5         suicide.    You and your movement caused their deaths.

6                     "Foot soldiers" you call yourselves.           You, with

7         your flags used as spikes.         My son was a soldier.       Soldiers

8         don't erect gallows and call for the Vice President to be

9         hanged.    Soldiers don't attack the seat of their own

10        government by brandishing pipes and clubs and bats.              They

11        don't plant pipe bombs.      They don't drag a police officer

12        into their midst, beat him senseless, and tase him

13        repeatedly while he begs for his life.           And they don't beat

14        and blind policemen with chemicals like you did to Brian.

15        You attacked my son like he was an animal.            You are the

16        animal, Mr. Khater.

17                    In defense of their actions, some of the mob have

18        relied upon the fact that the former President invited them

19        to Washington, that he whipped them into a frenzy and sent

20        them marching to do his bidding to stop the peaceful

21        transfer of power, to overturn our election.             That man will

22        get his due, his day in court; that's my hope.

23                    But you should have known better.           In this great

24        country we go to the voting booth to make a difference.               We

25        don't start an armed rebellion, no matter if the President
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1         encouraged you to fight like hell to take your country back.

2         To this day he rants about your patriotism and how unfair

3         you have been treated.      To this day he lies about the

4         election.    How does it feel to be headed to jail because of

5         a bald-face lie?

6                     You are no martyr.     You are a felon.

7                     We are called as citizens to honor the

8         Constitution, to support our police in maintaining law and

9         order.   You can speak your mind under the First Amendment

10        because of law-abiding Americans and dedicated law

11        enforcement officers.      Your right of free expression didn't

12        entitle you to attack my son that day.          What you did happens

13        in places like Russia, China, Venezuela, Cuba.             Not the

14        United States.

15                    I don't know what kind of upbringing you had, what

16        might have happened in your childhood that contributed to

17        your deluded sense of right and wrong.          If I were your mom,

18        I would be embarrassed to have a son like you.             I couldn't

19        bear to look at you ever again, which is how I feel right

20        now.   Let this be the last time, Mr. Khater.

21                    Lawlessness, misplaced loyalty to a deranged

22        autocratic ideal, and hate killed my son.            And I hope you

23        are haunted by your crimes behind bars.             Whatever jail time

24        you receive is not enough in my eyes.          I leave it to Judge

25        Hogan to set your just reward for having imparted the
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1         darkest days in my life and among the worst in American

2         history.

3                      My son Brian was good boy who grew up to be a good

4         man, quiet, humble, unassuming, and honest; faithfully

5         committed to his family, friends and comrades, and to the

6         defense of his country.

7                      Growing up he didn't join many things, like

8         T-ball, Cub Scouts.       Whatever the activity, he never lasted

9         long -- until he joined the Air National Guard as a young

10        man, and swore an oath; that was very important to him.              He

11        kept his word, both as an airman and as a Capital Police

12        officer.

13                     That he may be remembered for his patriotism, his

14        heroism offer solace to our family.         But nothing less than

15        justice here today, and for all the others who set in motion

16        the events of January 6th, will honor Brian's sacrifice.

17                     Thank you, Your Honor, for the opportunity to

18        speak in front of the Court.

19                     THE COURT:    Thank you, Ms. Sicknick.       I appreciate

20        your concern coming in here with that and explaining what

21        it's meant to you about the loss of your son.

22                     MR. LIGHT:    Your Honor, we call Sandra Garza to

23        the stand.

24                     MS. GARZA:    Hello, Your Honor.

25                     THE COURT:    Thank you.
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1                     MS. GARZA:    Thank you for allowing me to speak.

2                     THE COURT:    You need to introduce yourself for the

3         record, please.

4                     MS. GARZA:    Okay.     My name is Sandra Garza, and I

5         am the long-time girlfriend of Brian Sicknick.

6                     THE COURT:    All right.     Thank you.

7                     MS. GARZA:    Thank you for allowing me to speak

8         before you today and give my victim impact statement.                 This

9         is something I have been waiting two years for.             And it

10        means a lot to me that I am finally allowed to have my voice

11        heard regarding the two defendants, Tanios and Khater.

12                    Since the insurrection and since Brian Sicknick's

13        death on January 7th, 2021, I have seen zero remorse from

14        either defendant.     I have not heard any statements of sorrow

15        for participating in the insurrection, for assaulting my

16        long-time partner of over 11 years, or any statements from

17        any of their family members; I find this reprehensible.

18                    I understand that their attorneys probably advised

19        them not to make any statements regarding Brian; but from a

20        place of humanity this is not acceptable, and disturbing.

21                    Expressing sorrow for the passing of someone to

22        their loved ones is not an expression of guilt but an

23        expression of being human.         I know if I assaulted someone or

24        participated in the planning of someone who was assaulted

25        who later died, I would be filled with remorse, pain, and
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1         anguish.

2                     Clearly, these two defendants do not feel any

3         empathy.    Any sorrow they may feel is for themselves and the

4         consequences they now face.         This is further demonstrated by

5         their actions on the days leading up to January 6th and the

6         day of.

7                     Both defendants went to great lengths to plan

8         their attack on law enforcement, with defendant Khater

9         having full knowledge that defendant Tanios was going to a

10        gun store to purchase items for the insurrection.              Tanios

11        originally tried to buy firearms.          But when he was told that

12        was not legal by the gun store manager still would not back

13        down, and tried to buy pepper ball guns.             When that

14        failed -- because he was told those weren't legal either --

15        exasperated, he settled on buying four cans of two types of

16        bear spray.    He knew full well bear spray is not meant for

17        human beings.       Bear spray is meant to take down over

18        650-pound grizzlies, yet he bought them intending to use

19        them on innocent law enforcement officers.

20                    Though there is no proof defendants Tanios and

21        Khater used bear spray on Brian and the other officers,

22        considering Tanios bought bear spray and Khater yelled,

23        "Give me that bear shit," once they were in the crowd in

24        Washington, D.C., a reasonable person can infer that that

25        was the chemical substance used on Brian.
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1                     Once Brian was sprayed in the face, he was

2         incapacitated.      Khater and Tanios thought nothing of the

3         fact that approximately over 30,000 angry people were

4         wanting law enforcement officers' heads and that, while he

5         was incapacitated, he could have easily been overpowered and

6         rioters could have taken his gun.         This angers me, that --

7         even after he was sprayed in the face, they continued to

8         stay in the crowd having no remorse for what just occurred.

9                     Further, after the dust settled and defendants

10        Tanios and Khater left the grounds, for months they knew

11        Brian had died.     They knew they participated in the

12        insurrection, and they did not turn themselves in to the

13        FBI.   This shows a callousness and maliciousness that

14        disgusts me.

15                    Brian was a wonderful, warmhearted, and caring

16        person.    He suffered, and his life was taken from me.              I

17        love Brian, and I miss him dearly.         I cried myself to sleep

18        most nights after his death.       Just two nights ago I was

19        crying because I saw a movie on television we both loved and

20        watched frequently.

21                    After his death, which was so public, not one

22        single person had anything negative to say about him.

23        That's why it hurts me so much that defendants Tanios and

24        Khater assaulted him.      Had they gotten to know him, they

25        would have liked him; and that's why it's very sad and
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1         painful for me to accept what they did.

2                     When he first died, I was disregarded by some in

3         power because we weren't married, and I had been forced to

4         minimize my own suffering.         But we were together longer than

5         some marriages last.

6                     When you are talking about a death, a death is

7         extremely stressful on an individual and on a family.                 The

8         stress from January 6th has given way to a point of no

9         return for many in law enforcement and their families.                The

10        stress has had a significant impact on our health and

11        well-being.    There are times when I've felt beaten down.

12        Every day I have to muster the strength to be a powerful

13        voice for Brian.     It is hard for me, and it takes a toll on

14        my health and well-being; but I am will to go the extra

15        lengths to ensure justice for Brian.           All individuals that

16        participated in the insurrection need to be held accountable

17        for their actions.

18                    Prior to having fully processed all of this, I did

19        have some empathy for Khater and Tanios.             I saw them as

20        people who were brainwashed by our former President; two

21        young men who were fed lies and thought they were doing the

22        right thing by America.

23                    As a clinical social worker, I know we are all

24        shaped by genetics and early childhood experiences, adult

25        life experiences, any trauma we have encountered, and that
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1         some brains are more vulnerable to persuasion by charismatic

2         characters in our world.      However, as I reflected on

3         everything, I realized I didn't see a shred of remorse or

4         sorrow, or any attempts for them to make a statement through

5         their attorneys or family members.          It was then I realized

6         they're not sorry for their actions.

7                     For this reason, Judge Hogan, I am asking for the

8         maximum sentence you can impose.         I realize it will not

9         bring back Brian, nor give him peace in his last moments on

10        Earth, but it will give some sense of justice in my

11        universe.    Thank you.

12                    THE COURT:    Thank you, ma'am.          I appreciate it.

13                    MR. LIGHT:    We'll call Ken Sicknick to the

14        lectern.

15                    THE COURT:    All right.

16                    MR. K. SICKNICK:       Good afternoon, Your Honor.

17                    THE COURT:    Good afternoon.

18                    MR. K. SICKNICK:       My name is Ken Sicknick.            I am

19        Brian's brother.

20                    THE COURT:    Thank you.

21                    MR. K. SICKNICK:       I am the brother of Brian

22        Sicknick.    His job was an officer with the United States

23        Capitol Police, but that was not his only identity.               He is a

24        brother, a son, and a coworker that was embraced by his

25        peers.   He was loved because of the person that he was.                 He
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1         was also a hero.

2                     Today is a terrible day, even if this is the day

3         that justice is to be served.       There are probably some

4         details I do not know regarding the attack on Brian and his

5         subsequent death when it came to what was pleaded by the

6         defendants.    However, asking about those things, digging

7         deeper just brings up too much pain.

8                     I cannot read books about that day.          Reading

9         articles and seeing newscasts just brings me down.             There is

10        a constant reminder every single day.          I hesitate to ask his

11        coworkers that were there that day because I know how hard

12        it was for them and how much they loved Brian.            I do not ask

13        because I do not want them to be in any more pain than they

14        already are.    I know the pain.

15                    In time, I will delve deeper into that day from

16        the people that were there -- people, human beings, family,

17        sons and daughters, husbands, wives, people that were

18        brutally attacked -- a few, like my brother, who died from

19        the actions of inconsiderate animals that only saw my

20        brother and his fellow officers as targets and obstacles.

21                    It's been over two years since Brian was attacked

22        and killed; two years of reading and hearing one conspiracy

23        theory after another; seeing the testimony of the defense

24        attorney explaining away the attacks from these defendants

25        as self-defense.     It sounds almost humorous, defending
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1         oneself from being attacked by the USCP officers because the

2         defendants were on the attack.        It's been two years of

3         hearing people of the same ilk as the defendants trying to

4         justify what they did as righteous.

5                     Two years of hearing that Brian didn't die because

6         of the attacks on January 6, 2021, so his death does not

7         matter.    Two years of election deniers forgetting or

8         conveniently ignoring the statement from the medical

9         examiner's office that all that transpired on that day

10        played a role in his condition.

11                    It has been two years since the night my family

12        and I saw Brian for the last time; laying motionless, skin

13        gray.   I got to hold his hand.       I got to kiss his forehead.

14        I did not get to speak to him, at least I could not hear him

15        reply to me.    Two years since I heard my father repeatedly

16        say, "I am the one that is supposed to die first."

17                    The last two messages I ever received from Brian

18        were him replying to me via text after I said "good luck" to

19        him.    They were -- and forgive my language -- "Tell me about

20        it, we're fucked, talk later."        And the last message, "Fuck,

21        I smell like BO, weed, OC spray, and CS gas."            That was the

22        last message I ever heard from him.

23                    I found out that he had passed away not from a

24        doctor, not from my family; I found out through a statement

25        from a reporter on my phone as I was driving my older
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1         brother and my father to Washington.           He simply said, "My

2         condolences."       I suspect somebody leaked that information

3         before anybody knew.

4                      I am angry.    The two defendants came to

5         Washington, D.C. that day looking for a fight.             I am not

6         going to use their names as it will humanize them.              The two

7         defendants are not worthy of having names or being addressed

8         as such.    They are an appendix.       They exist only to inflame.

9         The moment they are taken out, everyone will feel a lot

10        better.

11                     They brought with them chemical sprays, plural.

12        They were not there to be peaceful.          What they did was not

13        an accident.    It was not a lapse of judgment.           Make no

14        mistakes, what they did that day is who they are.

15                     The only thing that surpasses my anger is my

16        sadness; sadness that the only time I can communicate with

17        Brian is to speak into the nothingness and hope that he is

18        listening.    I am sad that I am now hyperaware regarding my

19        surroundings, hoping to see signs that he is still here.              A

20        price on a receipt with his badge number, a cardinal showing

21        up at random, a blue and black butterfly that flies across

22        my path -- I stop when I see these things; I hope they're

23        signs from Brian.      I listen.    I remember.      I hope that he is

24        okay because I know that my family and I are not.

25                     Brian was never one for the spotlight.           He
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1         preferred to go about his business not bringing attention to

2         himself.    My family and I quietly smile at each other when

3         we attend an event honoring and remembering Brian and the

4         weather turns bad; we know that that is Brian telling us

5         that we don't have to go forward with the event.              We know

6         it's Brian telling us that it's okay; he is okay.              Please

7         don't make a big deal about me.         Take care of the others

8         that need it.       That's what he would have done.

9                     Brian served in the Air National Guard.            He joined

10        because -- among other reasons, so he could obtain veteran

11        status and go serve as a police officer.             He ultimately got

12        to serve his country as an airman and as an officer.                  That

13        is all he wanted.      His goal was never to be a hero because

14        he was, among other good things, humble.

15                    Brian and I bonded largely through our sense of

16        humor.    There was hardly a day that went by that we did not

17        send a funny meme or give to each other; no explanation

18        needed.    We both understood the humor no matter how off the

19        wall it was.    Two years later, I will still see something

20        that I think that we both would have thought was funny and

21        reach for my phone, and I have to stop; angry and sad I

22        can't share that moment with him.          There is no replacing the

23        small moments like those.

24                    Friends that I have had for longer than one of the

25        defendant's has been alive wouldn't understand.             Some of
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1         those same friends cannot talk to me because they do not

2         understand what to say, or they do not know what to say.

3         Some of them just feel sorry for me and my family, never

4         comfortable bringing up anything that happened that day in

5         conversation.       These are my closest friends.        Friends that

6         would do anything for me, as I would do for them.              I can no

7         longer have the usual conversations with my friends.                  They

8         all walk on eggshells hoping not to have to breach this

9         uncomfortable topic.       It has changed the relationship with

10        people I have known for over 40 years.

11                    Brian is my little brother.         He's seven years

12        younger than me, and nine years younger than my older

13        brother Craig.      He would hang out with us as a little kid,

14        but rarely was he a nuisance that would get in our way.

15                    He was looked after by his older brothers as well

16        as his older brothers' friends.         He would quietly observe

17        what was going on, what we were doing, picking up a thing or

18        two along the way.      Craig would work on cars; Brian would

19        pick up a trick or two.       I would do whatever I would be

20        doing, he would be happy just being there.            We would, in our

21        own brotherly way, look after him.

22                    When he became older, he would lean on us for

23        advice from time to time; eventually, we would do the same

24        with him.    I always admired his determination.           We never

25        really worried about him when he was on his own; we knew he
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1         was going to be okay.

2                      One of the things most sought after when a family

3         member loses a loved one is closure.          However, for my family

4         and myself, I believe that there will never be closure.

5         Quoting author Stephen Grosz:       Closure is delusive -- it is

6         the false hope that we can deaden our living grief.

7                      I will forever want to know why.        Why did these

8         individuals do this?      Why did they think that assaulting

9         someone would make their lives better?          How can you better

10        your own life by attacking and eventually the death of an

11        innocent person?     Why did they not look around and see what

12        was going on was very wrong and walk away?

13                     I suspect it was indifference to someone else's

14        life.   Indifference is the same thing that stopped them from

15        turning themselves in, instead of going about their lives

16        like nothing had happened; not worrying about what they did

17        until they got caught.

18                     I cannot imagine living a life knowing that you

19        attacked someone, getting caught, and then pleading not

20        guilty until you get tired of sitting in custody.             They were

21        on video, and they had the balls to plead not guilty

22        initially.    Once again, no remorse.       The only remorse is

23        that they got caught.

24                     Sometimes the only way to get closure is by

25        accepting that you will never get it.          I believe forgiveness
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1         for these two will never come from me; it would not bring me

2         any closer to closure.

3                      In some way, in some form, I hope that the

4         individuals that attacked Brian are constantly reminded of

5         what they have done, and that they are perpetually tortured

6         by it as I am.

7                      I am in a constant state of anxiety now, not

8         something that ever affected me.          I could always just jump

9         into a new situation because I knew that whatever the

10        situation was, I can make the best out of it.

11                     The best way to explain how I've gone through life

12        since the attack on Brian and his subsequent passing is by

13        quoting a TV show that focuses on the grief of losing a

14        loved one.    Comedian and actor Ricky Gervais, in the show

15        "Afterlife," explains perfectly how I am now going through

16        life.    "I feel sad all the time.        I am not the person I

17        was."

18                     Brian dying is like a loss -- I lost a large part

19        of me.   All of the good things, all of the happiness, the

20        joy in anything -- I feel like I am nothing.              People think I

21        am okay; they think I am moving on with my life.               I am my

22        sarcastic self, and that -- that, my sadness, my moodiness

23        is the lapse.       But it is not.    This is me all the time now;

24        everything else is a front.         I am not well.      But I do

25        remember what it was like to be normal, so I do my best
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1         impersonation of that; but this is what I really am now.

2                      I want to be normal again.       I have tried since

3         Brian's death to be positive, to put that face on, but it's

4         just for show; that is, to keep the people I love in a place

5         so they don't worry about me.

6                      I continued on with my job as a manager of a

7         retail store after Brian's death, but ultimately could not

8         handle the normal stresses of retail.          I used most of my

9         savings and took six months off from work -- never to return

10        to that job that, for the most part, I enjoyed.

11                     I excelled at customer service.         Now I just want

12        to avoid people in general.        I ultimately found a job that

13        is largely stress free, and the only people I have to

14        interact with are my coworkers; and that is on rare

15        occasions.    It's just a job, a placeholder, just enough to

16        pay my bills.

17                     I work 60 to 70 hours a week.          My coping mechanism

18        has become working so that I don't have to think about

19        anything else.      This leaves little time for myself or my

20        family -- or for downtime or for hanging out with my

21        friends, for going out on the town with my wife, who,

22        because I work so many hours, I see less than one-third of a

23        day per week.

24                     I am embarrassed to tell you that I cry at random

25        moments; no warning.      Luckily, I am usually by myself when
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1         this happens.       There are triggers everywhere; phrases that

2         are uttered; a meme that comes across my social media; a

3         scene in a movie or TV show that I have to leave the room

4         for or turn off.      My wife constantly worries that something

5         on the TV will trigger me.          She will pause and ask me if I'm

6         okay before we continue watching something together.

7                     Politics used to be something to joke and complain

8         about; now it's a constant reminder of what happened to

9         Brian that day.

10                    I would like to share a quote that was provided by

11        a member of a support group I now belong to, a group of

12        other siblings who also lost their loved ones in the line of

13        duty.   We call ourselves:      The best family that you can

14        never want to be a part of.         The quote reflects how I

15        believe is how myself and others who love Brian feel.

16                    The reality is that you will grieve forever.               You

17        will not get over the loss of a loved one.             You will learn

18        to live with it.      You will heal, and you will rebuild

19        yourself around the loss that you have suffered.               You will

20        be whole again, but you will never be the same, nor should

21        you be the same, nor would you want to.

22                    These two defendants grew up, literally, ten

23        minutes away from where and Brian grew up.             They have taken

24        away my brother's future as well as mine.             Not only was

25        Brian hurt, so were his family, his coworkers, his friends,
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1         his partner.    My healing will consist of getting used to the

2         pain, not overcoming it; learning to exist while still being

3         damaged.    I suspect that goes for everyone else Brian came

4         across in life.

5                     Abraham Lincoln warned us that:          Mob rule begets

6         mob rule.    Lawlessness and violence are contagious.            The

7         defendants were part of a mob that indiscriminately attacked

8         law enforcement and threatened to kill the people they

9         perceived as standing in their way.          If the mob is not

10        punished, what is to prevent this from happening again?

11                    Recently a politician suggested that if they were

12        the ones to lead the mob, the mob would have won.

13                    I miss my brother dearly.        I agonize every day

14        that my remaining brother and my parents are doing okay,

15        that his partner Sandra is okay, that his coworkers are

16        okay.

17                    The United States Capitol Police are so busy

18        taking care of my family, I wonder who is taking care of

19        them.   I suspect they're going about their lives much like I

20        am, remembering what normal is and acting the part.              None of

21        this is okay.       We're just moving forward knowing that we

22        will never get Brian back.

23                    Judge, I ask that you consider all of these things

24        when passing sentence.       One of the defendants, if given the

25        sentence that was suggested, will still be free and be
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1         younger than Brian was when he died; meaning that he would

2         be given another chance at life, something that cannot be

3         said for Brian.      The other defendant is asking for time

4         served.    Whatever the extenuating circumstances were to put

5         him in that situation, please be reminded that he

6         participated.       He bought the chemical irritants that Brian

7         was attacked with; he was part of the mob that overwhelmed

8         the police at a ratio of 58 to 1.           The defendants were not

9         there by mistake; they didn't leave when it was obvious what

10        was happening.

11                    To my family and I, whatever sentence is

12        administered, it cannot be enough.

13                    Thank you, Judge.

14                    THE COURT:     Thank you, sir.       I appreciate that.

15                    MR. LIGHT:     I call Craig Sicknick to the lectern.

16                    MR. C. SICKNICK:        I would like to thank Judge

17        Hogan for the opportunity to speak.

18                    THE COURT:     All right.     And your name for the

19        record again.

20                    MR. C. SICKNICK:        Oh.   My name is Craig Sicknick.

21        I'm Brian Sicknick's oldest brother.

22                    THE COURT:     All right.     Thank you.

23                    MR. C. SICKNICK:        On January 6, 2021, you decided

24        to follow former President Trump down a dark path with many

25        other miscreants.      I really would like to know how someone
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1         can be so easily duped into doing the dirty work of another,

2         with no facts, no potential rewards, and a high likelihood

3         of facing serious repercussions for one's actions.

4                      Was it fun?   Did you really think you would be

5         rewarded for your idiotic efforts?

6                      Over two years have passed since the actions of

7         you and your fellow rioters led to the death of my brother.

8         Did you think you would wind up here in this courtroom after

9         being involved in the first insurrection in U.S. history?

10        Did you think you would bask in the glory of Trump's

11        stupidity?

12                     I wish I were not in the same room as you, as your

13        presence makes me sick.      Your actions and those of your

14        fellow rioters that day led to the death of my kid brother,

15        who was by any measure more of a man than you will ever hope

16        to be.

17                     Not a day goes by where I am not reminded of your

18        actions.    I start every day by coming down the stairs of my

19        home and seeing a painting of Brian in his United States

20        Capitol Police uniform with a slight smile on his face,

21        reminding me of what my family and our nation has lost.              He

22        was 42, far too young to die, especially due to the actions

23        of a madman and his sycophant followers.

24                     After looking at the painting for a moment, I turn

25        on the morning news before work.        More often than not, I am
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1         reminded again of your actions with some bit of news on

2         Trump, the January 6 committee, or another piece on the

3         events of January 6th, in which you willingly participated

4         with misplaced rage and a cultish desire to follow your

5         narcissistic chief, willingly attacking Brian and his fellow

6         officers who were simply doing their job protecting the

7         Capitol Building, and those within it, on a day that has

8         been one of peaceful transition since the country was

9         founded.

10                    Brian was a United States Capitol Police officer

11        for over 12 years, and not once did he have to deal with

12        someone such as yourself and your mindless fury that day.

13        Before he became a United States Capitol Police officer, he

14        served honorably in the Air National Guard overseas where he

15        faced all kinds of his dangers as part of his duties.                He

16        managed to survive that experience physically unscathed and

17        went on to a career in law enforcement at the United States

18        Capitol where he continued to protect our country.

19                    After 12 years as a United States Capitol Police

20        officer, his fate was sealed.       Not by any foreign enemy, but

21        by the actions of you and your loathsome coconspirators that

22        day.

23                    Your selfish actions have caused more pain than

24        you could ever imagine.      My family is a wreck, and none of

25        us have been even remotely unscathed as a result of your
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1         actions that day.

2                     Brian's coworkers are still reeling from his

3         death.   I myself have been both physically and emotionally

4         damaged to the point where I left a great job I loved, as I

5         can no longer handle being in the high-adrenaline

6         environment that went along with the job.

7                     Thanks to you, I now suffer from ulcers as any

8         reminder of Brian's death still hits me like a hammer.               I

9         have lapses of memory which I have never had before, which

10        make it more difficult to function both at work and at home.

11        I also suffer every day seeing what you have done to my

12        family, knowing you took away a son and a brother, a friend

13        and a coworker, and a gentle soul who chose the path of

14        protecting others instead of choosing another easier path.

15                    He was the youngest of three siblings, ten years

16        my junior and should have easily outlived me, as he lived a

17        better lifestyle, was in great physical shape, and took

18        great care of himself.

19                    I have seen my parents appear to age a decade at

20        least in the past two years.       I see my brother Ken suffering

21        in his own way.     And the face I see in the mirror is not the

22        same one I saw before everything occurred.           Where I used to

23        see a face with a small grin, full head of hair, and clear,

24        bright eyes staring back at me.        I now see a balding,

25        graying face, with new wrinkles and, more mornings than not,
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1         a haunted look due to poor sleep and uneasy dreams.

2                     Your participation in the January 6th insurrection

3         took away more than you can ever understand.              Whatever

4         sentence the judge gives you today will not be long enough

5         or severe enough for my satisfaction, as our laws are far

6         more lenient than the actions you took that day toward Brian

7         and the other officers of the United States Capitol Police

8         and the D.C. Metropolitan Police that you attacked.

9                     I hope you have a long time behind bars to think

10        about your actions and how they affected others.               Your

11        deviant behavior on that day has altered the lives of me, my

12        family, our extended family, and the nation.

13                    I would like to thank the Court for allowing me to

14        voice my thoughts.

15                    THE COURT:     Thank you, Mr. Sicknick.         I appreciate

16        your remarks.       Thank you.

17                    MS. N. SICKNICK:        I call Nicole Sicknick to the

18        lectern.

19                    THE COURT:     All right.

20                    MS. N. SICKNICK:        My name is Nicole Palmieri

21        Sicknick.    I wanted to thank you for letting me read my

22        statement today.

23                    THE COURT:     Yes.     Thank you.    Go ahead.

24                    MS. N. SICKNICK:        Nearly 23 years ago, while

25        putting myself through college, having lived for years in
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1         rented rooms, I went on a date with the most thoughtful,

2         gentle man I knew; his name was Craig.          We had been friends

3         for a year, and I was terrified.        I was terrified because I

4         loved him dearly, but also valued his friendship and didn't

5         want to risk losing it.      I was terrified because he talked

6         about his family, and without knowing them I knew they were

7         good people.

8                     Where I come from, good people kept their distance

9         from penniless nomads who lived in rented rooms and worked

10        two jobs to afford both groceries and tuition.            But I went

11        on that date anyway, being scared, because I knew Craig was

12        a good person who knew where I came from and wanted to take

13        me out anyway.

14                    A few weeks later, I met his family.          And I am not

15        sure they knew how to take me, not many people did back

16        then.    I was suspicious, scrappy, and sarcastic, and didn't

17        know how to act in a family, so I winged it.            They gave me a

18        chance.    They gave me a chance when many others didn't.

19        They listened even when I was difficult to understand.               They

20        didn't always know if they were saying the right things,

21        neither did I.      But they opened their hearts and gave me a

22        place.    They welcomed me as family and, though, I had never

23        felt settled in my life, eventually, here, I was.

24                    In time, I found myself as much a member of the

25        family as any of them, Craig, Gladys, Chuck, Ken, or Brian.
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1         After years of existing ruthless and surrounded by callous

2         indifference, I was for once surrounded by people who loved,

3         valued, and protected one another.         It was a tough

4         adjustment, but I made it; and it made a difference in my

5         life.

6                     Then late morning, on January 7th, 2021, after I

7         had watched hours of mayhem on the news, my phone rang.              It

8         was Craig, and his voice was choked.          His brother, my

9         brother-in-law Brian, had collapsed in his office.             It made

10        no sense because Brian had texted the night before, shaken

11        but in good spirits, having said nothing about being injured

12        or feeling ill.     My stomach turned.      Brian had always been

13        healthy.    Why would he collapse?      But Craig didn't know

14        either.

15                    I waited hours for another call.          And when it

16        came -- it came.     Brian had had two strokes.         He was

17        unresponsive, and his prognosis was grim.           I asked my

18        husband in disbelief if this meant Brian would die, and he

19        frantically answered yes.      After I heard myself scream,

20        "Why?" -- the voices on the TV slurred into the background,

21        and a fist clenched my throat.        I sobbed on the floor for

22        not sure how long.

23                    How could Brian die?      He sounded fine yesterday.

24        He was only 42.     He was an amazing person.        We all loved

25        him.    He was only doing the right thing.          My mind raced on,
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1         but no answers came.

2                      What followed was a blur.      Reporters pounding the

3         doors; silencing my phone to stop all of the ringing.

4         Photographs of Brian flashing repeatedly on the TV until I

5         turned all that off too; crying in the bathroom until I

6         threw up, physically ill from electrolyte loss.            Then

7         hearing my family crying, all of them, listening to them

8         scream at one another in confusion and rage.

9                      Blue and red lights -- miles and miles of them --

10        for hours; sirens; the sounds of everyone's voices turned

11        unbearable because all I could hear in those voices was fear

12        and loss; then the sound of no one knowing what to say for a

13        long time.

14                     The silence was as maddening as the noise.              Asking

15        why?   But never getting an answer.        Just angry voices and

16        sad faces all around me from people I had never seen angry

17        and sad in 20 years.

18                     Where I came from, anger and sadness were all

19        over, wherever you turned, but not in this family.             What had

20        happened?

21                     There was once joy, comfort, laughter.          There was

22        once a sense of shelter.      So many memories and moments were

23        once cherished.     I was lucky to find a family who helped my

24        heart to become better.      And now the defendants snuffed all

25        that out with a spray can of chemicals -- just because you
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1         could.   You took it away from us with your malice and

2         hatred -- just because you could.

3                     Now, because of all of that, the comfort, the joy,

4         the laughter, the safety, and the memories became drowned in

5         rage, sadness, terror, and tears.         How could this happen?

6         Because of hate.     The same hate that rallied thousands to

7         take up arms against a nation that allowed their rights and

8         freedoms, and attack that same nation, and those who

9         defended those very rights and freedoms -- all because of

10        some malignant, self-important egomaniac told them to do so?

11                    Many times this has happened in history the world

12        over.    Any American with basic knowledge of history knows or

13        should know where this leads.       And yet American citizens

14        like you took it upon yourselves to brutally attack, maim,

15        and kill fellow Americans because you fancied one man; one

16        woefully misguided man wished you to do it.

17                    When did it become okay to commit violent crime or

18        any violent crime just because someone wished it?             Never.

19                    The SS officers on trial at Nuremburg learned this

20        the hard way; and if there is any justice in the world, so

21        will you.

22                    What did my brother-in-law Brian, someone you had

23        never even met, ever do to justify your vicious abuse of

24        him?    He was here doing his job, protecting the people he

25        had sworn to protect.      And for doing this, you felt he
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1         deserved to be attacked and sprayed with poison?              You didn't

2         even belong in the Capitol.        You were there for the sole

3         purpose of destruction, and Brian died protecting the

4         innocent from people like you.

5                     You destroyed Brian Sicknick, my brother-in-law

6         and friend, because it suited your whims.            You destroyed the

7         hearts of every member of Brian's family just because it

8         suited your whims.     An innocent man, a loving brother, and a

9         good friend, and the lives of the people who loved him have

10        been destroyed by you just because it suited your whims.              I

11        hope that makes you proud of yourself.

12                    THE COURT:    Thank you, Ms. Sicknick.

13                    MR. LIGHT:    And, Your Honor, our final victim

14        impact statement will be Officer Caroline Edwards.

15                    THE COURT:    All right.

16                    OFFICER EDWARDS:       Good afternoon, Your Honor.

17                    My name is Caroline Edwards.         I am an officer with

18        the United States Capitol Police.

19                    THE COURT:    Thank you.

20                    OFFICER EDWARDS:       And thank you for the

21        opportunity to address the Court and allowing me to speak.

22                    On January 7th, 2021, a sergeant called me to tell

23        me that Officer Sicknick would not make it.            My day had

24        already been confusing enough.         Injured with a traumatic

25        brain injury, I slept fitfully, not sure of what was real
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1         life and what was a dream.         I had hoped this call was a

2         nightmare.    All I could remember saying to him over the

3         phone was, "No."     That's all I could say, "No," followed by:

4         I'm sorry.    I am so sorry.

5                      I had just seen Sicknick on the west front a day

6         ago.   When I saw him get attacked, I remember his face,

7         ghostly pale, and in pain.         I remember thinking that I had

8         never seen anyone go pale when they got sprayed with

9         chemical spray, and I knew he must need help.             I didn't get

10        a chance to help, though, because seconds later I was

11        sprayed.

12                     What kicked off was a month's of survivor's guilt

13        and asking God why it wasn't me.         It didn't matter what

14        anyone else said to me.      I felt like the absolute worst kind

15        of officer; someone who didn't help their friend, couldn't

16        help their friend.     Every time I looked in the mirror, I was

17        reminded of this.

18                     My eyes were red and scabbed for over a month

19        afterwards.    It was like the 6th was mocking me, reminding

20        me at every turn how I couldn't help my fellow officer that

21        day.

22                     As you are aware, that's why sentencing for

23        someone who attacks a first responder is so high.              When you

24        attack a police officer, you limit their ability to do their

25        job and help others in need.        So many people died needlessly
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1         that day due to first responders and resources being held up

2         by attacks from people like Mr. Tanios and Mr. Khater.

3                     I quite possibly was the first person to notice

4         something wrong with Officer Sicknick.          Could anything I did

5         that day help him?     Possibly not, but I will never know.

6         That's what was taken away from me, Your Honor, my ability

7         to be there for a fellow officer, to be there for a friend.

8         Sometimes, when I close my eyes, I can still see his face,

9         white as a sheet.

10                    I thought I would be happy when this day came,

11        when justice would be served, and I would get a chance to

12        tell the Court how I and my fellow officers felt when

13        thousands attacked us.      I thought it would feel like

14        closure.    Instead, I would give anything for none of us to

15        be where we are right now; and I would give anything to take

16        the pain away from the Sicknick family and my fellow

17        officers.

18                    That day, these choices, those moments will affect

19        all of us for the rest of our lives.          How we choose to move

20        forward from this moment is what will define us.             It does

21        not matter to me how Brian died.        Instead, what matters is

22        that Brian gave some of the very last breaths he had to

23        defending the Capitol Building, our symbol of democracy.               He

24        shouldn't have had to, but he did.         This is what I want

25        people to remember when they think of Sicknick, and this is
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1         what I choose to remember.

2                     Brian David Sicknick:      End of watch, January 7, 2021.

3                     Thank you for the Court's time, Your Honor.

4                     THE COURT:    Thank you, Officer.

5                     MR. LIGHT:    Your Honor, that concludes the victim

6         statement portion.     The government is ready to proceed to

7         its allocution if the Court's ready.

8                     THE COURT:    All right.    First, let me establish

9         that we have taken testimony from the people who are

10        victims, that is, suffered as a result of the activities

11        before us today from Mr. Khater and Mr. Tanios.            And I will

12        talk more about that at the time of actual sentencing, as to

13        how we can approach their concerns.

14                    I take it that I have no objections in the

15        presentence report by counsel from the government, or

16        corrections to be made.

17                    MR. LIGHT:    That is correct, Your Honor.

18                    THE COURT:    And since I am doing that, let me just

19        ask each defense counsel -- so we don't have to repeat this

20        again -- that each defense counsel, having reviewed the

21        report, there are no objections or corrections to enter; is

22        that correct?

23                    MR. SEIGEL:    That's correct on behalf of

24        Mr. Khater, Your Honor.      Thank you.

25                    THE COURT:    All right.    Thank you.
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1                      Ms. Gross.

2                      MS. GROSS:   No objections on behalf of Mr. Tanios.

3         Thank you.

4                      THE COURT:   Thank you.    All right.      So the

5         presentence report stands as found.

6                      The presentence report, as I've said, is based

7         upon the probation officer's review of the pleas in this

8         case.   And the presentence report found that, under the

9         Sentencing Reform Act of 1984 that set forth guidelines for

10        almost 40 years now that the Court uses as an advisory basis

11        to consider an appropriate sentence -- principally to make

12        sure the sentences are not only fair and adequate and

13        respond to the needs of the public as well as of the

14        defendants' situation and the nature of the offense that we

15        consider, but to help provide a somewhat uniform sentencing

16        so that there is no unfair disparity between sentencing

17        between individuals convicted of the same offense and the

18        same background.

19                     In this case as to Mr. Julian Khater, we have the

20        total offense level of 80 -- 28.        The Criminal History

21        category is minimal, it's 1; it's not affecting anything.

22        The guideline provisions, for the pleas to Count 2 and 3

23        that he pled to in this case charge him with two counts of

24        assaulting, resisting, impeding certain officers using a

25        dangerous weapon in violation of 18 U.S.C. 11(a)(1) and (b),
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1         are 78 to 97 months.      So that's, approximately, a little

2         over six-plus years up to eight and a half to nine years.

3         So we'll consider that range as a part of the consideration

4         the Court gives in the case.       It's not bound by that range,

5         although to vary there has to be some rational basis for

6         varying from the range, either going higher or lower.

7                     All right.    Mr. Light.

8                     MR. LIGHT:    Thank you, Your Honor.

9                     Today the government asks for this Court to impose

10        a sentence on Julian Khater of 90 months of incarceration

11        based on the defendant's egregious conduct on January 6th.

12        I just want to --

13                    THE COURT:    That's about 8.6 years that I

14        interpret it to be coming out to be, approximately?

15                    MR. LIGHT:    The range of 78 to 97, I believe, tops

16        out at eight years and one month for 97 months.

17                    THE COURT:    All right.

18                    MR. LIGHT:    Now, first, the government would like

19        to address, as discussed, defendant Khater.

20                    My colleague, Mr. Scarpelli, will then address

21        defendant Tanios.

22                    THE COURT:    All right.

23                    MR. LIGHT:    So beginning with Mr. Khater and what

24        happened on January 6th, this defendant committed a cowardly

25        and premeditated assault on at least three uniformed law
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1         enforcement officers.

2                     This was not just an assault on law enforcement;

3         it was an assault launched in timed coordination with other

4         rioters who were trying to break through the makeshift

5         police line that was barricading the United States Capitol.

6                     The government submits that -- when this Court

7         evaluates the factors specified in Title 18, Section 3553,

8         as it should -- it will find that the collective balance of

9         the weight of these four factors; it weighs heavily in favor

10        of our requested sentence today.

11                    And Your Honor has correctly stated the charges,

12        the guideline recommendations; I won't repeat them for the

13        Court.   I would like to just address the four sentencing

14        factors and why they support the requested sentence

15        beginning with the first factor, the nature and the

16        circumstances of the offense.

17                    Now, this Court is familiar somewhat with the

18        details of what happened, with the facts -- and I don't

19        intend to launch an entire factual summary of what happened

20        that day, as this was presented largely to the Court during

21        a detention hearing back in April and May of 2021.             We

22        submitted Exhibits 1 through 17 to the Court during that

23        hearing.    We have incorporated these exhibits as exhibits in

24        our sentencing memoranda, they are still before the Court;

25        and I will refer to some of them today by the same exhibit
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1         number for purposes of this hearing.

2                     THE COURT:    All right.

3                     MR. LIGHT:    We have also added Exhibit 18 within

4         our sentencing memorandum relating to defendant Khater.

5                     We will be showing some of these exhibits.               I am

6         going to start our PowerPoint presentation.           The exhibits

7         are also referenced in our sentencing memoranda.

8                     So, first, I do want to review the lead-up to the

9         assault itself, and what led the defendant to commit this

10        awful act of violence.      What we know is that on January 5th,

11        2021, Julian Khater and George Tanios traveled to

12        Washington, D.C., together.        They brought with them two

13        canisters of bear spray, two canisters of pepper spray.

14        Both of these sprays contain the same active ingredient

15        capsaicin; and they were purchased by George Tanios that

16        evening specifically for their trip to Washington that

17        night.

18                    Now, on January 6th, Tanios -- carrying the bear

19        and the pepper spray in his backpack -- and defendant Khater

20        went to the rally in front of the White House.            They

21        listened to the speeches, they marched across the mall.

22        They walked right by this courthouse, and they got to the

23        U.S. Capitol Building at approximately two o'clock p.m.

24                    Now, from this point on, Julian Khater's assault

25        on law enforcement and the formation of his malicious intent
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1         to attack these officers and purposely launch this assault

2         and purposely break the law -- it develops in three stages.

3         Each of these three stages, we submit, reveals an escalating

4         level of criminality.

5                     First, he observes the riot that is already fully

6         underway.    Now, the timing of the larger riot is very

7         important here.     And these are details that we did not have

8         a good grasp on when we last spoke in April of 2021; we

9         understand much more about it now.

10                    What we see is that in Slide 1, which is before

11        the Court -- and this is Figure 1 referenced in our

12        sentencing memorandum -- it shows the layout of the Capitol

13        on the day of the riot.      And with my mouse, which is not

14        showing up on the screen -- bear with me.

15                    If I may just approach the screen because the

16        pointer is not showing up.

17                    THE COURT:    Certainly.

18                    MR. LIGHT:    This area, Your Honor, by the Lower

19        West Terrace, just to the right of the circle C, that's

20        where much of the camera footage that you are about to see,

21        and that you have seen, took place.

22                    Now, the circles that you see there, A, B, and C,

23        are where the initial breaches happen.          And if we move to

24        Slide 2, we see this very area that I have highlighted to

25        you -- the front of the west side of the Capitol, the Lower
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1         West Terrace and the West Plaza -- at 1:39 p.m., in the

2         afternoon, is already overrun with rioters, with violence,

3         and with a makeshift police line that is barely hanging on

4         through bike barriers -- or bike racks that were set up as a

5         makeshift barrier.

6                     Now, as we know from the surveillance video, the

7         first time that we see Khater and Tanios enter the Capitol

8         grounds is at, approximately, 2:09 p.m.              So all of this is

9         already ongoing.

10                    The first clip I would like to play for the Court

11        is Government's Exhibit 3.         The time stamp is 2:11 p.m.         I

12        am going to hit "Play."      There is no sound on this footage;

13        this is from United States Capitol Police surveillance

14        footage.    What we have done -- to try and assist the

15        Court -- is put arrows on top of the defendants' heads.                The

16        red arrow is pointing to defendant Khater; the yellow arrow

17        is pointing to defendant Tanios.

18                    Now, you can watch this video over and over and

19        over again and see something different because there is so

20        much to see.    I would direct the Court's attention to the

21        center right of the screen where you'll see officers behind

22        the barrier repeatedly rushing over to the line because

23        violence was going on; because batteries were being

24        launched; spears were being thrown; chemicals were being

25        deployed by the rioters; flash bombs were going off, some of
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1         those from law enforcement; makeshift devices being hurled

2         by the rioters; smoke going up in the air.           It was a melee.

3                     And this defendant sat there and watched it.             He

4         took it all in.     And you can see him trying to get closer,

5         walking up to that area.       Shortly you are going to see a

6         fracas to his right, and that's now in the center of the

7         screen, that he approaches and sees heads on, up close with

8         his own eyes.

9                     Julian Khater did not arrive at a protest in front

10        of the Capitol.     He arrived at a riot.       He arrived at a war,

11        a full-fledged assault on overmatched police officers

12        struggling to protect the Capitol.         He saw all of this and

13        he wanted to get closer.

14                    Now, he stays.     He doesn't leave.       He separates

15        from his codefendant, Mr. Tanios, at some point, and then he

16        comes back together with him farther away from the police

17        line.   So at this first stage, his culpability level is a

18        little bit lower.     Right?   All he has done is he has seen

19        violence, he hasn't participated in it yet.           But at the

20        second stage, which we saw caught on video as well, is when

21        his involvement turns to anger and loss of control.

22                    I am about to play for the Court Government's

23        Exhibit 5 which captures the moment that the Court saw

24        previously, when defendant Khater reaches into defendant

25        Tanios's backpack to retrieve what is clearly a bottle of
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1         bear spray, not pepper spray.       This is Government Exhibit 5.

2         It's from open source media, it does have volume.             I will

3         play it for the Court.

4                     (Whereupon, an exhibit was published.)

5                     MR. LIGHT:    I hope Your Honor heard that at the

6         end, when Mr. Khater emphatically declared, "They just

7         effing sprayed me."      You can hear that he's angry, that he

8         is upset, that he is ready to do battle.            He has reached for

9         a weapon.    You can hear it in his voice.

10                    Now, he claims he was sprayed as if he was some

11        innocent victim.     I don't know what he expected when he

12        walked up to the front line of a riot.          But he used this

13        perceived slight and portrayed himself as the victim to fire

14        himself up even further, amongst hundreds of people who were

15        uncontrollably fired up and ready to do battle.            But that is

16        not the worst of it because, after that moment, what we see

17        is that Mr. Khater actually does calm down.

18                    We see in the next government exhibit, Government

19        Exhibit 4, a moment of cooling off, if you will; meaning, he

20        doesn't appear to be roused, he doesn't appear to be jumping

21        up and down.    He is standing there talking to his

22        codefendant, to Mr. Tanios, and to others.

23                    And this final stage is the most disturbing,

24        because this happens at 2:13, and he sits for seven minutes.

25        We're now on Government's Exhibit 4, at 2:20 p.m.             And for
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1         the previous seven minutes, Mr. Khater is standing there

2         talking to people calmly.       We know he has a canister of

3         pepper spray in his hand.       We know he has a canister of bear

4         spray on him.       To be clear -- it's clear from the video,

5         it's clear from what we see -- he did not actually use that

6         canister of bear spray during the assault; he used a smaller

7         canister of pepper spray.

8                     At this stage, where he is calm and deliberative,

9         is where we see intentional and methodical conduct.              Now, I

10        am going to hit "Play" here again, and talk over this video.

11        You are going to see the red arrow start to work it's way

12        up.   This is 2:20, and the assault happens at 2:23.

13        Mr. Khater has said goodbye to the people he was talking to,

14        and is now positioning himself.

15                    There is only one reason he is trying to get

16        closer to this violence, and that's to join it.             He is going

17        to walk up and lay in wait.         He is going to work his way to

18        the front of the line, stay positioned facing forward,

19        facing the line of officers.        He is armed with two canisters

20        of pepper spray.      He has got one in his hand, and he is

21        waiting for the right moment to spring into action.

22                    And here is what is so disturbing, Your Honor.

23        This is not just an impulsive reaction to him supposedly

24        being sprayed.      You don't see in the video that he's

25        reacting the way some others you're about to see react when
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1         they get sprayed with pepper spray.         He is not leaning over,

2         rubbing his eyes; he's not dousing his face with water.              He

3         claims he was sprayed.

4                     You can see in the videos, certainly, people are

5         walking away from where police are spraying protesters;

6         there is no question they were.        And police are getting

7         away -- I'm sorry -- other people in this mob are walking

8         away from that.     He gets closer.

9                     Now, as you see, he continues to get closer, and

10        he waits.    He waits for what he knows is about to happen,

11        and that is a full-on assault on the police line.

12                    Other rioters have attached straps to the bike

13        racks and, at the right moment, after a lengthy wait -- when

14        he had time to walk away and time to think about what he was

15        doing, he jumped into action right when the officers were at

16        their most defenseless.      We're going to let this video play

17        just for another 30 seconds here until we get to the

18        assault.

19                    (Whereupon, an exhibit was published.)

20                    MR. LIGHT:    In about 10 seconds, at the bottom

21        right of the screen, you will see a disturbance, a

22        commotion; that's the pull on the bike rack that sent

23        defendant Khater into action.

24                    If you watch the red arrow, you can see defendant

25        Khater with his hand extended.        He just sprayed Officer
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1         Edwards.    And watch him, because he continues to spray; his

2         hand is up, he is leaning back in.         And an officer in a

3         white shirt, Lieutenant Bagshaw, sees him, approaches him,

4         and has to spray him to get him to stop.

5                     Now, we're going to revisit that and more about

6         the injuries that were inflicted at that moment.             I want to

7         go to a different angle for what we saw here.            This is

8         Lieutenant Bagshaw's body-worn camera, the same officer you

9         just saw chase Mr. Khater down.

10                    This is a very short clip.        I am just going to

11        play it for the Court.

12                    What it does is it shows our three victims:

13        Officer Brian Sicknick on the left in the blue, Officer

14        Caroline Edwards in the center, and Officer Chapman on the

15        right from the Metropolitan Police Department.            One thing

16        they all have in common is they're not wearing riot gear;

17        they're not wearing face shields.         The most that they are

18        protected with are bicycle helmets -- for Officer Sicknick

19        and Officer Chapman.      Officer Chapman is wearing a ski mask

20        which is of no help to him.        And Officer Edwards has

21        absolutely no protective gear on her head or covering her

22        eyes.

23                    Now, Mr. Khater is standing right in front of

24        these three officers, standing and waiting in that video we

25        just showed you.
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1                     We're going to go to our next exhibit; this is

2         Government's Exhibit 6.      And this shows another angle where

3         you can see the defendant's assaultive conduct.

4                     (Whereupon, an exhibit was published.)

5                     MR. LIGHT:    We have slowed this down so you can

6         see what's happening.

7                     The green arrow is Officer Edwards; the yellow

8         arrow is Officer Chapman; the blue arrow is Officer

9         Sicknick.    And in red, there is defendant Khater; hand

10        extended, spraying all three officers one by one.             And,

11        importantly, he doesn't stop.       There he is, continuing to

12        spray.

13                    And one final clip we would like to show Your

14        Honor is Government's Exhibit 7.        And there -- I'm sorry, I

15        stopped it too soon.      But there is defendant Khater

16        continuing even longer to spray other officers.

17                    It's worth noting, we have identified, Your Honor,

18        three victims.      That's at least three victims.        Those are

19        the victims that we were able to identify.           It's very likely

20        that that pepper spray landed on more than just three

21        people.

22                    Now, Government's Exhibit 7, one final view of

23        what happened there.

24                    (Whereupon, an exhibit was published.)

25                    MR. LIGHT:    I paused it here, Government
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1         Exhibit 7, just a few seconds in because this shows what I

2         was referring to earlier.      This shows seconds before the

3         assault where defendant Khater was laying in wait directly

4         in front of these three officers.

5                     (Whereupon, an exhibit was published.)

6                     MR. LIGHT:    Now, Your Honor, that was Officer

7         Chapman's body-worn camera.        That was one of the victims who

8         got sprayed, and that's why it got so unsteady there.

9                     But you could see Officer Edwards moving around;

10        you could see Officer Sicknick.        Both of them -- all three

11        of them reacting to the pepper spray.          And I am going to get

12        to their injuries and the effects it had on the police

13        officers in a moment.

14                    With regard to defendant Khater's conduct, the

15        nature of this offense shows much more than an impulse; it

16        shows more than heat of the moment.         It is an intentional

17        effort to join the other rioters -- to team up with them, to

18        work in concert with them -- to help the riot succeed in its

19        goals.

20                    Now, the idea that the defense has submitted to

21        the Court that it was never Khater's intent to facilitate a

22        breach of the Capitol -- that's page 11 of their sentencing

23        memorandum -- is, with all due respect, completely

24        disingenuous because that is precisely what he did.             He knew

25        what he was doing when he timed his actions like that.               This
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1         is not a situation where he got sprayed by an officer and

2         then immediately reacted in the heat of the moment.             And we

3         take issue with the defense's characterization of this as

4         some sort of impulsive reaction.

5                     Why did he wait if he was so impulsively angry?

6         Why did it take him so long to act?

7                     There are nine minutes between when he retrieves

8         that bear spray from Tanios's backpack and the actual

9         assault.    There are multiple minutes longer when he's just

10        standing there.     Your Honor, that is premeditation; that is

11        deliberation.

12                    Your Honor should not either find any mitigation

13        or justification in the presence of what the defense

14        characterizes as "a climate of mass hysteria."            I believe

15        the defense described it, on page 11, as "a visceral powder

16        keg that was waiting to ignite," and that Mr. Khater was

17        somehow a victim of that explosion.         That is completely

18        wrong.   Mr. Khater was the powder.

19                    His conduct is not absolved or mitigated or

20        otherwise deserving of leniency just because people were

21        egging him on.      It is up to our everyday citizens to follow

22        the law when voices of chaos are at their loudest.             It's up

23        to everyday citizens to refrain from violence, to refrain

24        from assaulting our brave men and women in uniform.

25                    Julian Khater, he failed that basic test of a
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1         civilized democratic society that day.           The test that says:

2         When you don't get your way, you resolve things peacefully.

3         He didn't get his way, he chose violence, and he chose to

4         assault our democracy.

5                     I want to talk now about the injuries inflicted on

6         these officers because this was a personal assault on human

7         beings, Your Honor.

8                     Each one of these officers was incapacitated.

9         They suffered the sting of a direct hit to the eyes.                  They

10        lost their vision, they lost their ability to defend the

11        line, they had to retreat off that line, and they required

12        other officers to assist them even in seeing just to get to

13        a safe place.       Three officers all struck with pepper spray,

14        at least three, all forced to go to the sidelines.

15                    And then, Your Honor, most tellingly, five minutes

16        later the order to retreat was given.           The line fell five

17        minutes after Julian Khater's pepper spray.            The line fell,

18        and we know what happened next.         Now, the Capitol was

19        breached on multiple fronts, not just right there.              But the

20        cumulative efforts of rioters like Mr. Khater are what

21        contributed to -- what allowed the breach of our Capitol

22        Building.

23                    I want to play Government Exhibit 10 for the

24        Court.   And I will note -- right here -- this is a good

25        still shot of this body-worn camera.           What you see in the
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1         very left there -- and it's just cut off here -- is Officer

2         Sicknick standing to the side, leaning over, suffering the

3         effects of pepper spray.      And if you can see in the center,

4         that is Officer Edwards -- the camera will get closer to

5         her -- with a hand on her eyes.        She cannot see, she has a

6         hand in front of her.      She is alone, blinded, and doesn't

7         know where to go.     We're going to play this video.

8                     (Whereupon, an exhibit was published.)

9                     MR. LIGHT:    Note there were two officers that had

10        to assist her and guide her through the scaffolding.                 Now,

11        that was Officer Edwards.

12                    The next video we would like to play for the Court

13        are Government's Exhibits 11 and 12.          Court's indulgence

14        while I retrieve these from a different source.

15                    Now, Exhibit 11 we're about to play for the Court

16        is surveillance footage from the upper terrace, the stairs

17        leading up from where these officers were just assaulted.

18        We would like to play about three minutes of video for the

19        Court.   We think it's instructive because this is video of

20        Officer Sicknick after he retreated from the line.

21                    THE COURT:    Yeah.    I remember he was up in the

22        patio area.

23                    MR. LIGHT:    That's correct, Your Honor.         Right.

24                    With the Court's permission, these videos are not

25        terribly long, about three minutes.         I am going to let them
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1         play.   I will note for the Court -- we would like you to

2         focus not just on Officer Sicknick and how long it's taking

3         him to recover, but the other officers who are also coming

4         up to retreat and recover and douse their face with water,

5         and are unable to defend the line.

6                     (Whereupon, an exhibit was published.)

7                     MR. LIGHT:    That was Government's Exhibit 11.

8                     We'll play Government's Exhibit 12, a continuation

9         of the same clip.

10                    (Whereupon, an exhibit was published.)

11                    MR. LIGHT:    I will note, Your Honor, this is 2:29

12        p.m. on the surveillance video.        That is Officer Sicknick

13        six minutes after this assault, still leaning over with his

14        hands on his knees, pouring water in his eyes trying to

15        recover.

16                    This defendant left these officers defenseless,

17        helpless, unable to see, and in need of assistance.             He took

18        more than three officers away from the line which further

19        took away from the defense of the Capitol, and this is how

20        the Capitol was breached.

21                    With regard to the injuries, I will point out that

22        Officer Edwards was here and bravely chose not to talk about

23        her own injury but to talk about the injury of her friend,

24        her colleague.      She was suffering the same way that he

25        suffered at that moment.      This was -- I saw the scabs myself
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1         on her eyes, Your Honor, that lasted for weeks.            She was

2         also the victim of other violence at other areas of the

3         Capitol.    But that attack -- this defendant's attack on

4         Officer Edwards, Officer Sicknick, Officer Chapman was

5         instrumental in allowing January 6 to happen.

6                     Now, with regard to the intent of the defendant in

7         terms of interfering with the Electoral College, we don't

8         have any evidence that he was planning on this prior to

9         January 6th.    We have been very forthcoming with the fact

10        that there are no postings or communications that show any

11        preexisting intent.      He was not one of the individuals who

12        were talking up interfering with the election prior on

13        social media or in any other forum that we know of.

14                    The defense has emphasized this lack of planning

15        and prior agitation as some sort of a mitigator but, quite

16        frankly, Your Honor, I am not sure what's worse:             Someone

17        who talks about it for 30 days prior to January 6th and

18        stands on the sidelines, or someone who doesn't say a word

19        and doesn't talk the talk but walks the walk and assaults

20        three officers like this.

21                    At the end of the day, the nature and

22        circumstances of this offense are that Julian Khater formed

23        a very deliberate and calculated intent to attack law

24        enforcement and, for these reasons, the nature and

25        circumstances of the offense call for a lengthy term of
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1         incarceration as punishment.

2                     Our second factor under the sentencing

3         guidelines -- I'm sorry -- under the sentencing analysis are

4         that -- with regard to the history and characteristics of

5         this defendant, we submit that there is no reason to dispute

6         Mr. Khater's background and characteristics of which I know

7         the defense will be speaking about shortly.            His lack of a

8         criminal history, his lack of a prior record is reflected in

9         the guidelines analysis.      The fact that he immediately

10        accepted responsibility for his actions -- all of that is

11        reflected in the plea offer agreed to by the government

12        where an additional assault was not charged.

13                    Our third factor is the need for the sentence to

14        reflect the seriousness of the offense.             And I can reiterate

15        my allocution on the first factor, that this was an

16        unprecedented attack on law enforcement officers who were

17        guarding the democratic process itself.             The defendant's

18        willingness to join this mob of rioters makes it even more

19        serious than had he acted alone.

20                    A lengthy period of incarceration will promote the

21        very respect for the law that Julian Khater abandoned on

22        January 6th.    It will also afford adequate deterrence.              And

23        that's our final factor, both to Mr. Khater himself and to

24        others tempted to act similarly.        Julian Khater acted with

25        malice and hatred in his heart that day.            His susceptibility
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1         to extreme violence, his willingness to join that mob, his

2         willingness to attack these unprotected officers -- it's

3         shocking, it's outrageous, and it requires a sentence that

4         will ensure that law and order continue to govern our

5         society.

6                     Now, in terms of unwarranted sentencing

7         disparities, I would like to address that for a moment.

8         And, Your Honor, we did file a supplemental sentencing --

9                     THE COURT:    I received that and reviewed it, the

10        cases that defense relied upon as to the potential disparity

11        in sentencings of other January 6th rioters that were

12        sentenced for somewhat similar conduct.             I read through

13        those and any differences that you pointed out.

14                    MR. LIGHT:    Thank you.

15                    I won't go into them in detail.           I will just

16        summarily state that this defendant's actions are easily

17        distinguishable from those cases, if only on the following

18        grounds:    They are different charges; there are no dangerous

19        weapons involved in these other cases; there are no injuries

20        to officers in these other cases, and/or the number of

21        victims is much smaller.

22                    One of those four factors -- in most of them more

23        than just one factor are present in those other cases.                They

24        are not the same; they are inapposite to this case.

25                    THE COURT:    A majority of them are within the
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1         guidelines of those offenses that they plead guilty to?

2                     MR. LIGHT:    Yes.

3                     Those were guidelines -- you took the words out of

4         my mouth, Your Honor.      These were guideline-compliant

5         sentences that were given.

6                     We are not asking for any upward variance here; we

7         are not even asking for the very top of the guidelines.

8         This is a reasonable sentence for all of the reasons I have

9         already stated.

10                    And with that, Your Honor, unless the Court has

11        questions specifically about defendant Khater, I would like

12        to yield the microphone to my colleague, Mr. Scarpelli.

13                    THE COURT:    No.    I am going to consider and talk

14        to Mr. Khater.      You can come back and talk about the

15        restitution, potentially, for the -- anything they may have

16        paid for damages to the officers.         I have restitution that

17        they can get, that will be at a later stage, and any fine

18        possibilities that are available based upon Mr. Khater's

19        financial situation and his GoFundMe page.           All right.

20                    MR. LIGHT:    Thank you, Your Honor.

21                    THE COURT:    Thank you, Mr. Light.

22                    All right.    Mr. Seigel, if you are ready.

23                    MR. SEIGEL:    I am, Your Honor.

24                    THE COURT:    Thank you.

25                    MR. SEIGEL:    Thank you, Your Honor.
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1                     At the outset, as the Court noted, the guidelines

2         in this case are 78 to 97 months.

3                     The Court stated that there would need to be some

4         other mitigating circumstances to warrant a variance, and we

5         submit that there are, indeed, such circumstances in this

6         case that justify leniency and compassion.           We outline them

7         in great detail in our sentencing submission, which I know

8         the Court has read thoroughly, so I only intend to address

9         certain salient facts within our submission.            But at the

10        outset, I do want to outline what those considerations are,

11        and then I will go into them in greater detail.

12                    First -- and I would note the government has not

13        touched this issue at all; and that is the onerous

14        conditions of pretrial detention at the CTF to which

15        Mr. Khater has been subjected for nearly the last two years.

16                    The circumstances surrounding the offense

17        itself -- which, of course, the government has addressed; we

18        will as well -- including its spontaneous nature, we

19        obviously disagree strongly with the government's

20        assessment; and Mr. Khater's anxiety which contributed to

21        it, meaning it was not part of some orchestrated plan to

22        attack democracy.     And despite the government's

23        representations today, there are acknowledgements in their

24        submission which confirm that.        And the reality is that that

25        truly is what lies at the heart of the most disturbing cases
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1         on January 6th.

2                      In addition, there is Mr. Khater's post-defense

3         rehabilitation, his genuine remorse, the aberrational nature

4         of his conduct in this case and, as the government

5         prophesied, we would be addressing his upstanding background

6         and character.      For all of these reasons I intend to delve

7         into, we are, indeed, asking for time served with supervised

8         release, specifically with a condition that addresses his

9         mental health, his underlying anxiety.          And it's our

10        position that such a sentence would be sufficient but not

11        greater than necessary to achieve the objectives of

12        sentencing under Section 3553.

13                     And, importantly, one such objective which the

14        government touched on is the need to avoid unwarranted

15        sentencing disparities.      We'll address that, including the

16        cases which the government brought to the Court's attention

17        at 12:01 a.m. this morning.        We reviewed them, and we

18        respectfully disagree with their assessment.            I will delve

19        into that.

20                     But, first, turning to Mr. Khater's background --

21        and it's important under 3553.        Mr. Khater is now 32 years

22        old.   Indeed, his Criminal History Category is 1, and that's

23        for a reason; he has led an exemplary life.           He was born in

24        New Jersey, where he was raised alongside his older brother

25        and two younger brothers in a very close-knit family.                In
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1         fact, in 1994, when Julian was only five years old, his

2         father moved the entire family back to his own childhood

3         home in Lebanon, to raise his children amidst their extended

4         family, comprising no less than 32 cousins.

5                     THE COURT:    Let me just say one thing.

6                     For the sake of the people who are here and are

7         listening to this, to understand the proceedings, Mr. Seigel

8         is going to go into under -- he mentioned 18 U.S.C. 3553(a),

9         as did the prosecution.      That's the general sentencing

10        statute that guides the Court in sentencing and part of that

11        statute that the Court has to consider after it considers

12        the guidelines.

13                    And (a), the first paragraph, is nature and

14        circumstances of the offense which has been discussed, and

15        will be more; (b), as Mr. Seigel is into now, the history

16        and characteristics of the defendant.          You would have to

17        know something about the defendant to determine his

18        appropriate sentence, what his background is, whether he is

19        a prior serious offender or not, et cetera; (c) is the need

20        for the sentence imposed to reflect the seriousness of the

21        offense, promote respect for the law -- that the government

22        raised; (d) is the need for the sentence to afford adequate

23        deterrence, specific and general deterrence as well and,

24        then, (e), obviously, to consider the guidelines.

25                    But, finally, that we consider unwarranted
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1         sentencing disparities under 3553(a)(6), which is very

2         important because the courts got concerned, in years past --

3         one of the reasons for the guidelines is that people with

4         the same crimes were being sentenced very differently,

5         perhaps because of racial or other inequalities.

6                      So we have to consider all of those factors.            I

7         think Mr. Seigel is appropriate to go into the history and

8         characteristics of Mr. Khater at this time so that we can

9         consider that, and that would also include not only his

10        physical characteristics but mental characteristics, family

11        characteristics, et cetera.

12                     MR. SEIGEL:   Your Honor, thank you very much for

13        that.   I appreciate you stating that.         Because it's true,

14        Congress in its wisdom -- and I am saying this for the

15        edification of those who are in the audience -- enacted

16        18 U.S.C. 3553 Section (a)(1), which specifically requires

17        the Court to consider the history and characteristics of the

18        defendant.    That's because the guidelines are not all

19        powerful; it's just one factor for the Court to consider

20        when viewing a human being to assess what sentence is

21        appropriate for him individually.         And that's why his

22        background is very important in this case.

23                     He is a good human being.      This conduct in this

24        case does not define him, and I will address that in greater

25        detail.
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1                     I heard -- my heart goes out to them -- I heard

2         someone speak to this Court and say what kind of family

3         could he have?      How could he do what he did?         What led him

4         here today?    We intend to address that, Your Honor.            It's

5         our hope that it brings some clarity to those in the viewing

6         audience today and sheds some light on what occurred because

7         there really are extenuating circumstances here.

8                     And with that said, Your Honor, Julian Khater was

9         brought back to Lebanon to be raised in a very close-knit

10        environment by his father.         It was a rural and mountainous

11        area, in Bcharre [sic], Lebanon, which lacked traditional

12        staples:    A steady source of electricity, a regular

13        telephone system, continuous supply of hot water.              But what

14        it did offer him was a sense of belonging and a very strong

15        sense of family and community values; I highlight that

16        because it's a central theme throughout his life.

17                    His mother, Eleanor Fox, in a letter submitted to

18        this Court, as well as his cousin, Josephine Khater,

19        provided accounts of that, establishing that family has

20        always been so important to him.         Being raised in that rural

21        area amidst a close-knit community, Your Honor, shaped

22        Julian's values and his perspective on life, and provided

23        him with a very strong sense of belonging and support.

24                    Unfortunately, he had a very traumatic

25        circumstance happen in his childhood which caused that world
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1         that he knew to be ripped away from him in July of 2006, and

2         that was at the start of the Israel-Hezbollah war.             At only

3         age 17, he and his family were impelled to flee Lebanon

4         overnight, as bombing hailed down around his surroundings.

5         We detail the circumstances surrounding this in our

6         submission, so I will just touch on it briefly.

7                     It was frightening, terrifying; he had no time to

8         prepare.    He and his family had to leave their home with

9         their possessions behind.      And to sort of bring some horror

10        to this reality, while he and his family were escaping

11        Bcharre to Beirut, a bomb struck the road in the path of

12        their vehicle nearly killing them.         And it cast a cloud of

13        smoke and debris into the air, creating a temporary impasse.

14        Julian's father provides a letter to the Court detailing the

15        circumstances.      But Julian, at 17, screamed out in terror

16        aside his siblings; his mother pleading for their father to

17        go back but, at that point, there was no turning back.               They

18        had to escape.      Ultimately, the family reached the U.S.

19        embassy in Beirut, and they were transported safely out of

20        the region.

21                    But I reference this not to pander to the Court

22        for sympathy because that traumatic event actually shaped

23        Julian's psychological state; I submit that it's something

24        that remains with him until this day.          Leaving his home, his

25        community, his way of life under such harrowing
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1         circumstances had a lasting impact on him.

2                      And it's actually touched on in the presentence

3         report, which Your Honor has spoken of.              Specifically,

4         paragraph 81 says that he suffers from anxiety for which he

5         is prescribed medication.      And we submitted records to this

6         Court, which are under seal because of HIPAA issues from the

7         CTF where he is incarcerated, documenting that he in fact

8         has an anxiety disorder which has caused him, while in

9         pretrial detention, to experience -- I am quoting:

10        Overwhelming feelings of apprehension, and tightness in his

11        chest; a recent panic attack; ongoing feelings of anxiety

12        for which medication was not helping.           And in conjunction

13        with his anxiety, he suffers from depression.              He feels,

14        quote, very depressed and down.

15                     Now, Julian's escape from Lebanon and his history

16        of anxiety are confirmed by his father, Elie Khater, in his

17        letter; it's very lengthy.         I am just going to highlight two

18        brief portions in which he notes that:           Julian himself was a

19        victim of war trauma during the horrible events of July 2006

20        in Lebanon.    And, in fact, from 2012 to 2014, Julian was

21        hospitalized due to these anxiety attacks on numerous

22        occasions.    His anxiety was crippling in some cases, to the

23        extent that he would scream to his mom:              Please sit next to

24        me; I feel like I can't breathe.         I feel like I am going to

25        die.   On some of these occasions we would have to call the
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1         ambulance to take him to the hospital.

2                     Your Honor, despite having successfully escaped

3         Lebanon under siege in 2006, upon returning to the

4         United States -- as he is an American citizen, he was born

5         here; he lived here for his first five years.            Upon

6         returning, he continued to face challenges separate and

7         apart from his anxiety.

8                     After leaving behind places, people that had been

9         familiar to him for over 12 years, he abruptly found himself

10        having to adapt to a very new and different environment at

11        17 years old as a senior in high school -- just dropped into

12        that culture; and he experienced significant shock.             Having

13        just relocated to this country without the benefits of

14        friends, he felt alienated and isolated.            And where, still,

15        he had great difficulty forging new relationships because he

16        is inherently a shy and introverted person.

17                    Your Honor, that is a central theme that runs

18        through all of the letters submitted on his behalf.             You

19        sort of get a sense of who he is from the tellings of these

20        people; that he is sheepish, quiet, introverted, shy.

21        That's his person, not what we watched -- that's who he is,

22        not what we watched on that screen.         That he is reserved.

23        The letters go on and on describing this, how sweet and

24        gentle he is.

25                    Your Honor, despite his adversities, he embraced
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1         the altruistic values and sense of community instilled in

2         him as a child.     During his senior year in high school, in

3         fact, he engaged in charitable acts.          That's who he is, not

4         the seconds that we saw on the screen; but, as his father

5         describes, the person in high school who volunteered to

6         serve the poor and the needy, who spent most weekends at the

7         soup kitchen in New Brunswick, New Jersey.

8                     In his teens, he joined the Maronite youth

9         organization at the Catholic church where he helped organize

10        events, raise money, and provide for those in need.             In

11        fact, while donating his time to church activities, he

12        further espoused his faith -- it's very important to him,

13        Your Honor -- while he inspired younger children through his

14        humility and genuine concern to follow their own religious

15        beliefs.

16                    In fact, his aunt, Layla Khater, describes that in

17        a letter in which she says:        He was also involved in the

18        church of Saint Sharbel.      A lot of younger generations

19        looked up to him as he was so humble, caring, and tender.

20        So all knew Julian as a big loving heart and helping hand.

21                    Your Honor, Julian's faith is very important to

22        him, and that's a sentiment that's echoed by his mother.             In

23        fact, she writes that:      We always joked that Julian would

24        become a priest.     And she adds that:       His faith hasn't

25        wavered throughout this ordeal; meaning, since his arrest
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1         and detention over the last two years.          And true to her

2         words, even while presently detained, Julian continues to

3         counsel his younger nephews to maintain their own religious

4         beliefs.

5                     Your Honor, his values were not only a product of

6         the time he grew up in that tight-knit community in Lebanon,

7         but lessons imparted to him by his father, who I have gotten

8         to know very well over the last couple of years, a very

9         honorable man.      And he writes:    I have always instilled in

10        my children to help the poor and the needy among us.                 We

11        house many people who have emigrated from Lebanon over the

12        years fleeing war and a destabilized environment until they

13        were able to take care of themselves and lead successful and

14        productive lives in the United States.

15                    Your Honor, in an effort to lead his own

16        successful and productive life, to his credit, Julian

17        secured his associate's degree in business administration

18        from a community college in 2009 after returning to this

19        country, as difficult as those circumstances were.             He then

20        went on to earn his Bachelor of Science degree in that same

21        discipline, in 2011.      And his mother describes how arduous

22        that process was for him as he commuted nearly two hours a

23        day going back and forth; still never missed a day of

24        school, and graduated with honors.

25                    And that strong work ethic, Your Honor, endured as
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1         he transitioned from school to the work force because, since

2         arriving here -- returning here more than 16 years ago -- he

3         has remained continuously and gainfully employed.             Your

4         Honor has our submission.      We spell out all of the work he

5         has done over the years.      But I want to just go back to

6         January of 2018 when he managed and co-owned a health food

7         restaurant in North Carolina until January of 2019, when he

8         started up and managed another -- another similar business

9         in Pennsylvania where he had 30 employees.           This man had 30

10        employees; that's the responsible person that he is.                 Again,

11        not what we saw on that screen over the course of seconds.

12                    Unfortunately, that business had to shutter its

13        doors due to the pandemic, prompting him -- because he

14        didn't want to remain unemployed -- to work as a Lyft driver

15        from September 2020 until his arrest in March of 2021.                So

16        he has always worked.

17                    Though his business closed due to the pandemic,

18        the respect and the admiration that he developed, that he

19        garnered while working there and tending to the needs of his

20        family remains.     And his cousin Joanna, in a letter, states

21        that:   Julian continues to be a role model to our whole

22        family, always working hard, always kind and devoted to the

23        people and things he loves.        He is an honorable man with

24        good morals, and a pure heart.

25                    So with that, Your Honor, I want to turn to the
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1         instant offense.

2                     THE COURT:    I will note that, for the record, I

3         have reviewed -- I think it's 16 or 17 exhibits, maybe all

4         of the letters from family members, cousins and aunts,

5         father and mother, which are very instructive to the Court

6         about Mr. Khater's background and history, and what kind of

7         person he is.

8                     MR. SEIGEL:    Thank you, Your Honor.

9                     And in terms of the kind of person he is, what

10        those letters demonstrate is that he is gentle; he's kind,

11        he's altruistic.     And I think we can all recognize that

12        someone doesn't just develop those attributes after he is

13        arrested; it's a hallmark of a life well lived, that's who

14        he is.

15                    So then the question remains:           Why is he here

16        today?   It's hard to reconcile how he possibly could have

17        engaged in this conduct.      That's something that, honestly,

18        we, as defense counsel, grappled with because we got to know

19        him as well, directly and through his loved ones.              And it's

20        an understandable question that I am sure everyone in the

21        audience behind me is wondering as well, or at least many.

22                    And I think what is significant to note is that a

23        more than cursory review of the surrounding circumstances --

24        and I want to emphasize this so much, Your Honor, for

25        everyone in this courtroom -- does not excuse it by any
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1         stretch, by any stretch.      He's not looking here -- he is not

2         looking to be excused for what he did.          He understands he

3         needs to be punished, but it does shed light on his actions.

4                      In particular, his involvement, unlike so many

5         others caught up in the events of January 6th, wasn't

6         motivated by a desire to undermine democracy; that's not

7         what happened here.      Despite all of the rhetoric, the

8         hyperbole, that's not what this was.

9                      The truth is, Julian Khater loves this country.

10        He loves members of law enforcement to uphold and defend the

11        laws here.    His mother even describes, in her letter, how he

12        wanted to join the sheriff's department.

13                     So the question remains:      Why did he discharge a

14        small canister of pepper spray at officers during the riot?

15        What happened?

16                     And I think, importantly, to answer that question

17        we have to initially recognize why he was even there in the

18        first place.    So his only intention was to attend a

19        political rally, not storm the Capitol Building or seek to

20        undermine the election results.

21                     And the government in its submission states, on

22        page 10, the following to corroborate that, that its

23        investigation:      Uncovered no evidence that Mr. Khater

24        planned to advance to the Capitol prior to January 6th or

25        that prior to January 6th he intended to enter the Capitol
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1         Building or interfere with the lawful counting of the

2         Electoral College votes; that's not why he came to D.C.               And

3         the evidence presented to this Court at the bail hearing,

4         back in April or May of last year, corroborates that.

5                     Mr. Tanios called as a witness his friend Sean

6         Ruth who testified under oath that he discussed with

7         Mr. Tanios attending the rally with him and Julian.             And

8         quote:   There was no plan of going to the Capitol Building

9         afterwards, or anything like that.

10                    Likewise, although Mr. Tanios on his own

11        purchased -- you will hear from his counsel -- purchased

12        spray.   The manager of the store from which he purchased

13        those items explained that he did so for self-protection.

14                    Accordingly, there was never a coordinated plan by

15        Julian and Mr. Tanios to bring weapons to D.C. in order to

16        attack the Capitol Building.       And consistent with that fact,

17        the government, on page 11 of its submission, states

18        something very different than the position they took at that

19        bail hearing, if Your Honor recalls.          But what they say now

20        is:   These canisters were purchased by Tanios the night

21        before, ostensibly, as Khater later told the FBI, for their

22        own protection during a political event.

23                    So against that backdrop, I also think it's

24        important, particularly in light of many of the other

25        defendants who have been charged in this -- this riot, this
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1         insurrection, to note that Julian Khater, aside from his

2         membership in a church organization, isn't a member of any

3         other organization.      He is not a member of any other group,

4         associations or clubs.

5                     I'm going to put it out there.          He is not part of

6         some right-wing extremist group; he's not part of some

7         militia; he's not part of the Proud Boys, or any of these

8         other fanatical groups that shouldn't have been there that

9         day engaging in the deliberate activity that they were

10        participating in.     That's not what he was doing.

11                    He truly traveled to Washington, D.C., on

12        January 6th, with the mindset of being a passive spectator

13        and having no expectation of the tragic events that would

14        unfold at the Capitol that day; had no idea that a riot

15        would erupt.    In fact, when the former President said:

16        We're going to walk down to the Capitol, Julian Khater

17        thought that perhaps another speech was forthcoming, so he

18        followed the crowd heading towards the Capitol Building.

19                    Upon arriving there, as the government correctly

20        acknowledges, it wasn't a political rally.           He encountered

21        something very different than that which he anticipated.

22        Protestors incited others with false rhetoric about a

23        reputed stolen election.      And it sounded like the government

24        might have been minimizing this -- I'm not sure how they can

25        given what we saw -- but there was a climate of mass
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1         hysteria there; it was fueled by dissemination of

2         misinformation about the election, and it did give rise to

3         this visceral powder keg.       That's what happened; you see the

4         emotions there.      In fact, I will talk about what the

5         government says with regard to that, although they

6         apparently try to step back from it now.

7                     But Julian stood in a crowd of people as plumes of

8         chemical irritant permeated the air.           In the video, we saw

9         the plumes of smoke in the background.           And in an agitated

10        state, after having been sprayed, he said it -- there was no

11        reason for him to tell his friend over there something that

12        wasn't true -- he, agitated, took a small canister of pepper

13        spray.

14                    Now, it's true he had access to a more potent

15        item.    We have heard so much about this bear spray in this

16        case.    Bear spray, bear spray, bear spray.          That's what all

17        the press picked up on.       That's a salacious fact that tends

18        to perhaps distinguish him from other people who just used

19        chemical spray, but it's not true.          It's not true.

20                    And the reason we know it's not true is because

21        the government thoroughly investigated this, and they

22        located the canister that was used.          And, by the way, the

23        bear spray -- never once sprayed, not deployed once.                  It was

24        pepper spray.       And I am not saying that, Your Honor, in any

25        way to suggest that he should be forgiven for his conduct,
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1         but I think we need to be grounded in reality about what

2         happened here.

3                     And, importantly, despite having been sprayed and

4         agitated -- to his credit, he still had enough wherewithal

5         not to take that more potent item.         Instead, he took the

6         small canister of pepper spray, which he received from

7         Mr. Tanios that was brought for defensive purposes, after he

8         had been sprayed.     And that pepper spray, by design, Your

9         Honor, is a nonlethal self-defense tool.            It's meant to

10        avoid permanent harm.      Still, to his regret, he used it

11        offensively in a moment of clouded judgment.

12                    And whether it was the heat of that moment -- and

13        I will talk about that in a second -- or the addition of

14        some trauma which still lingered from having fled Lebanon

15        while under bombardment, bombs coming down around him -- the

16        government described the situation as a "war zone."             No one

17        is suggesting he's a warrior by any means but, clearly, it's

18        a chaotic, emotionally heightened atmosphere.            I don't know

19        how anyone can look at that otherwise -- with straight face

20        and say otherwise, and something in him was triggered.               He

21        deployed that canister of pepper spray.

22                    And the government acknowledges that he lost

23        control of his emotion.      I don't know how they can say

24        otherwise when, in writing, on page 14 of their submission,

25        they acknowledge that:      Mr. Khater, after having been
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1         personally sprayed by police chemical spray, lost control of

2         his emotion.

3                     Now, the government says, well, wait a second,

4         that was nine minutes earlier.        He had time to calm down.

5         Right?   Look at him.     He's calculated.      You can see how his

6         culpability levels are rising.

7                     First, he's standing there; that's really low

8         culpability.    Then he asked for the spray.         That's really,

9         really, really, bad, but not so bad.          It's one isolated act,

10        Your Honor.

11                    What happened was, he was in a crowd; he got

12        sprayed.    There is mass hysteria going on.         They don't

13        highlight this part.      But when you're looking at the video

14        in the back, Lieutenant Bagshaw is there with that super

15        soaker of chemical irritant indiscriminately spraying the

16        crowd of people who are there.

17                    Now, he shouldn't be there.        No question about

18        that.    But understand that, at the moment that he deploys

19        what he deploys, there are people just standing there

20        getting doused in the face with chemical spray.            Again, they

21        shouldn't have been there; but look at it from his

22        perspective.    Right?    Heightened anxiety, been sprayed

23        earlier.    He's got this for defensive purposes.

24                    I am not saying, as the government acknowledges,

25        that he is some innocent victim because, if he were, clearly
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1         I don't think we would be here today.

2                     But we're trying to explain what happened in that

3         moment that is so distinct and aberrational from who he is.

4         Why did he do this in that moment?         And the reality is the

5         government gives us the answer on page 24 of its submission.

6         Quote:   Julian Khater became emotional and riled up.                I

7         couldn't have said it any better.         He became emotional and

8         riled up.

9                     So I want to pause here and address the injuries

10        that were sustained as a result of his actions.            As the

11        government acknowledges in its submission, while officers

12        were incapacitated -- it's true; it was temporary.             And I

13        say that not to minimize, but so that we're grounded in

14        reality, particularly given some of the emotionality

15        surrounding this event.

16                    And, in particular, I would note that the

17        government's submission, on page 18, specifically states

18        that, quote:    Officer Sicknick had recovered from the

19        assault.    He recovered.    So despite whatever liberties some

20        may wish to take with the facts, facts are stubborn things,

21        Your Honor; they really are.

22                    Here, the chief medical examiner, after thoroughly

23        investigating the matter, issued a comprehensive autopsy

24        report officially declared that Officer Sicknick -- tragic

25        as it was, no one can say otherwise -- but he passed away
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1         not from being sprayed but from natural causes; and that's

2         important.    "Natural causes," which is defined as disease.

3                      In fact, the medical examiner's office said,

4         quote:    The natural classification is used when disease

5         alone causes death.       Just disease.

6                      Importantly, the medical examiner's office

7         added -- public statement -- quote:         If death is hastened by

8         an injury, the manner of death is not considered natural.

9         Which means that despite some of the hyperbole and rhetoric

10        about his conduct, the objective -- corroborated,

11        scientific, and medical fact is that Mr. Khater did not

12        directly or indirectly cause Officer Sicknick's passing.

13                     THE COURT:    He certainly -- he certainly did not

14        plead to any type of offense relating to the death of the

15        officer directly.

16                     MR. SEIGEL:    That's right, Your Honor.

17                     THE COURT:    The use of -- assault with a dangerous

18        weapon on the officer.

19                     MR. SEIGEL:    Thank you.

20                     THE COURT:    There are civil cases pending that is

21        not relevant to the Court today, and we'll see what they

22        decide.

23                     I don't know if there is such a category as an

24        eggshell plaintiff that you may be familiar with; but I do

25        know the press conference of the coroner has talked about
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1         all of the conditions that day contributed.           Some remark he

2         made.   It was not part of the offending autopsy report, and

3         I agree.    I agree I have looked at that.          And having put

4         down "natural causes" that distinguishes it from anything

5         else causing it.     He could have put down indeterminate or

6         undetermined; he didn't do that.

7                     MR. SEIGEL:    That's right.

8                     THE COURT:    I can't sentence Mr. Khater for

9         causing Officer Sicknick's death; that is not before me or a

10        consideration of the law at this time.

11                    MR. SEIGEL:    Thank you, Your Honor.

12                    And it's true, he wasn't charged.          I think, given

13        the nature of this case and the government's position in the

14        beginning, if there were any evidence to the contrary they

15        would have charged him.      They didn't, because it's just not

16        true.

17                    In any event, although Julian deployed the spray

18        over the course of the seconds that we saw, as the

19        government recognizes -- it's true, it was long enough to

20        temporarily incapacitate multiple officers.           I would add

21        that those officers -- to their credit, I commend them for

22        the job they did, it was incredible -- returned -- two of

23        them, certainly, to duty; that I know for a fact.             The

24        third --

25                    THE COURT:    I don't know if Officer Sicknick
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1         returned that day.

2                     MR. SEIGEL:    He did.     He returned to duty.

3                     THE COURT:    He later asked to be excused, and went

4         home --

5                     MR. SEIGEL:    Right.    He did.

6                     THE COURT:    I know that because of illness -- I

7         thought at some point.      I'll see about that.

8                     I do know, I thought -- I was amazed that Officer

9         Edwards -- her modesty today, and not talking about her

10        injuries directly because it had been -- hurt her eyes,

11        et cetera, and she was incapacitated for a while.              But she

12        was more concerned about her emotional distress about not

13        helping the officer as a friend.         All right.

14                    MR. SEIGEL:    Thank you, Your Honor.

15                    THE COURT:    Finish up.     And then, after you

16        finish, we'll take a short break.          The reporter has been

17        here two hours without a break.

18                    MR. SEIGEL:    Thank you, Your Honor.

19                    So, as I was saying, the officers were temporarily

20        incapacitated.      Importantly, although the government says

21        that maybe five minutes later there was a breach, and tries

22        to attribute it to Mr. Khater.         The reality is that the

23        barricades these officers were defending were reformed

24        within about a half minute, without any rioters traversing

25        the area during that momentary window.           And we know that
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1         from Officer Brown's body-cam footage, which shows the

2         spraying occurring at 2:23 and 8 seconds, and the barricade

3         reforming at 2:23:45 seconds.

4                     So that's a fortunate fact, Your Honor.            I say

5         that because it was never -- despite the government's claim

6         to the contrary -- never Julian's intent to facilitate a

7         breach of the Capitol Building.        And as proof of that fact,

8         he didn't go into the building; he left the area.              So his

9         conduct -- and I think you have to look at it for what it

10        is; it was isolated and not part of some coordinated effort.

11        He still feels tremendous remorse and regret for it because

12        he knows he did wrong.

13                    One of the statements we heard today was he hasn't

14        expressed contrition or remorse.        But on the very day of his

15        arrest, Your Honor, his actions actually speak so much

16        louder than those types of words.         And he has expressed

17        remorse, and he will do so again today.             But I will just

18        note that, on day one, he signed a Miranda waiver form

19        agreeing to speak with law enforcement.             He executed a

20        consent form authorizing federal agents to search his

21        vehicle -- not looking to hide, minimize; go ahead, have at

22        it.   They did, and they found the spray.

23                    He spoke to federal agents for more than two

24        hours.   He identified himself and Mr. Tanios in photographs

25        during the riot.     He admitted that he deployed the pepper
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1         spray; he didn't deny it.      He never falsely denied his

2         involvement in the events of January 6th.           And even during

3         the bail hearing, Your Honor, through his counsel he

4         acknowledged that he used pepper spray during a moment of

5         being emotionally overwhelmed.        The defense said this is not

6         a premeditated, planned-out event; it's reactionary,

7         emotional.    Reactionary.    There was no denial from day one.

8                      Since his arrest, Your Honor, he has been in

9         custody for, as I said, nearly 23 months, 680 days, at the

10        CTF under extraordinarily harsh conditions.

11                     We brought it to the Court's attention, I think it

12        was last year -- no, November 2021 -- when we sought the

13        Court's assistance to get him the discovery that CTF was

14        withholding from him without explanation.           We were given

15        false information from the facility, which they attributed

16        to some miscommunication.      In any event, he needlessly

17        languished in that pretrial detention for additional months

18        because they wouldn't give him access to his material.               And

19        that's just part of the systematic ill treatment to which

20        he's been subjected to there.

21                     The laundry list of abuses within the prison

22        system have been widely reported; they're spelled out in our

23        submission so I don't need to go into all of them.             Simply

24        to say that --

25                     THE COURT:   One that concerned me represented but
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1         was never brought to my attention was that he was denied any

2         access to religious services; that was never raised with the

3         Court, I don't believe, because that should have been

4         granted.

5                     MR. SEIGEL:    So it's relevant for sentencing now,

6         Your Honor, and that is that the conditions at the CTF were,

7         indeed, egregious.     Judge Lamberth actually rebuked the jail

8         conditions in the D.C. system as deplorable and beyond

9         belief; and I would agree with that.

10                    So, first of all, Julian Khater -- and I

11        understand it's not the Hyatt, it's not meant to be that.

12        But he's in a cell 7 feet by 11 feet that had mold in it,

13        diminutive space he was forced to share with someone else,

14        no space for movement.      Half the cell has a metallic bunk,

15        the other half has a toilet and sink, and a window that's

16        only a foot wide with a mesh that covers viewing to the

17        outside world.

18                    And this part is egregious, I mean, beyond that.

19        During the first year of his detention, he was largely

20        subject to solitary confinement in that setting, locked

21        within a cell for 25 consecutive -- 25 and a half

22        consecutive hours every other day.         Solitary confinement.     I

23        mean, I understand some defendants need to be detained and

24        that there is a regulatory purpose for that; I get that

25        part.   But solitary confinement.
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1                     THE COURT:    I think that's part of the COVID

2         outbreak which happened throughout the jail.            People have

3         been given some credit for that.

4                     MR. SEIGEL:    Your Honor, this went on for a good

5         solid year.    During that time he couldn't look up at the

6         open sky or breathe fresh air.        A harsh reality.       And while

7         the restrictions have lessened, even over the past year, he

8         still has only been afforded access to breathe fresh air and

9         outdoor space about two dozen times.

10                    What is not ameliorated are his everyday living

11        conditions.    To give some context here, he is on a one-inch

12        mattress, without a pillow, suffering sleep deprivation, as

13        the guards are banging on his cell loudly at 2:30 in the

14        morning to give him breakfast.        I'd submit he doesn't have

15        to eat breakfast at 2:30 in the morning; there is a reason

16        for that.    The particular unit that he was in, segregated

17        from the other detainees because of the nature of this case,

18        I think was treated disparately by the guards there.                 And

19        there were certain colorful euphemisms used to describe that

20        particular unit which had been referenced in the past.                But

21        I'll just say that he was treated excessively harshly given

22        the circumstances of this case.

23                    For the better part of a year, for instance, CTF

24        wouldn't permit him the dignity of even grooming.             They did

25        today.   In terms of the food that he was given, I would
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1         suggest that it was subhuman.       At times he was given two

2         square slices of processed cheese and broccoli tips that

3         were doused in chemicals that gave off the smell and taste

4         of ammonia.    I will just point out -- I don't know if anyone

5         here, the government or the Court, remembers what he looked

6         like when he first came here two years ago but, at this

7         time, he's lost almost 25 pounds in the facility.

8                     And as the Court noted in our submission, he was

9         deprived of religious services and made to suffer all of

10        these indignities there while cut off from his loved ones;

11        denied the opportunity to receive visits from his family

12        members for nearly the past two years; not once able to

13        embrace a loved one for comfort and support -- not once

14        until, lo and behold, the first time about a week and a half

15        ago, right before sentencing.       I don't think that was a

16        coincidence by the prison.

17                    But, in any event, the separation from his family

18        and inability to practice his religion have inflicted a

19        particularly severe punishment on him, considering the

20        paramount importance of both in his life.           And yet, even

21        under these painful circumstances, he has been a paradigm of

22        rehabilitation in the facility.        He has had ample

23        opportunity to reflect on his conduct.          He feels remorse,

24        which a letter submitted on his behalf established; they're

25        replete with references to his contrition.
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1                     But beyond that, there is objective evidence of it

2         because he sought to atone for his conduct while in custody

3         by being of service to others.         Even in the jail system

4         that's been so harsh to him, he has volunteered to

5         distribute the food trays, to clean the general areas, to

6         collect the laundry, to perform any other task that will

7         provide a service to his peers.

8                     And as proof of that fact, in our submission, we

9         provided a D.C. Department of Corrections work performance

10        sheet which describes his services to the facility.              And

11        what they say is that the quality -- quote:            The quality and

12        quantity of his work, his initiative, his dependability, his

13        response to supervision, and his overall job performance

14        are -- to use their word -- "excellent."             They say he does

15        superior work, more work than is expected or required of

16        him.   Performs superior work and exceeds expected

17        productivity.       It goes on and on.     They say he works with a

18        positive attitude.      I will skim through this because there

19        are a lot of very positive statements about him.              That his

20        work is very reliable, consistent, and thorough, and that he

21        makes a real effort to please his supervisor.

22                    Because the fact of the matter is, notwithstanding

23        his own adversities, he is a compassionate human being.                And

24        his emotionally charged conduct on January 6th was an

25        aberration in an otherwise exemplary life.            So he feels
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1         genuine remorse, and he's been severely punished.

2                     With that, I'll turn to the guidelines because the

3         government spent a lot of time in their submission

4         suggesting that the guidelines themselves avoid an

5         unwarranted sentencing disparity.         And in this instance,

6         Your Honor, they don't.      Indeed, they can't provide

7         sentencing ranges that account for each of the various

8         factors and purposes the Court must consider when imposing a

9         sentence under 3553(a).

10                    In fact, one of the original sentencing

11        commissioners, Ilene Nagel, acknowledged this problem with

12        the guidelines which she dubbed "overreaching uniformity,"

13        saying that the emphasis in creating the guidelines was more

14        on making sentences alike and less on ensuring the likeness

15        of those grouped together for similar treatment.

16                    In fact, Your Honor, the United States Supreme

17        Court in Koon v. U.S. has said the following:            It has been

18        uniform and constant in the federal judicial tradition for

19        the sentencing judge to consider every convicted person as

20        an individual and every case is a unique study in the human

21        failings that sometimes mitigate the crime and the

22        punishment to ensue.

23                    The guidelines in this case do none of that.             They

24        don't take into consideration any of the 5H1 factors that

25        are in the guidelines for the courts to consider, any of the
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1         factors in 3553, the history and characteristics of the

2         defendant; that's not incorporated in the guidelines.                Your

3         Honor, the guidelines here carry no greater weight than any

4         of the other sentencing factors under 3553.

5                     So with regard to the other factors, Your Honor,

6         as I pointed out, Julian has already been severely punished

7         for his misconduct over the last two years at the CTF.               His

8         pretrial detention has been unquestionably punitive, not

9         just serving a regulatory purpose; it's inflicted

10        unacceptable suffering and pain on him.

11                    We cited a case, United States versus Francis,

12        which actually deals with very similar circumstances.

13        Granting -- we are not seeking a downward departure, but it

14        granted one in that case where the defendant was subjected

15        to conditions -- a federal defendant -- subjected to

16        conditions at a state correctional facility that were

17        qualitatively worse than those in a federal correctional

18        facility, and that was only for 13 and a half months;

19        including overcapacity, we have that here; poor food and

20        sanitation, check that off too; the denial of access to

21        materials, same here; the occasional denial of contact

22        visits with his family, here it wasn't just occasional.               And

23        the court there addressed that with a downward departure.

24                    But here, now, particularly in light of Booker,

25        the Supreme Court's decision, the Court can and we submit
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1         should do so in the form of a variance with respect to the

2         factors in 3553.

3                     And, Your Honor, furthermore, with regard to those

4         factors, I would just add -- satisfying the Court's need to

5         look at the history and characteristics of the defendant;

6         this man's character throughout his life, despite the

7         seconds we see, has been upstanding.          And that's spelled out

8         in all of the letters submitted on his behalf which show why

9         he is an appropriate candidate for the Court's leniency and

10        compassion.    But they also corroborate something else that

11        Julian's oldest brother, Michael Khater, makes plain in his

12        letter -- and I am quoting:        The isolated incident at the

13        center of Julian's case does not and should not in any way

14        be a gauge to determine or judge his character.

15                    Julian's offense conduct truly is a shocking

16        aberration, Your Honor, and, in fact, it satisfies the legal

17        definition of aberrant conduct in this circuit.            In

18        United States versus Dice [sic] which we cite, the Court

19        defines such behavior as that which, quote:           Generally

20        contemplates a spontaneous and seemingly thoughtless act

21        rather than one which was the result of substantial

22        planning.    And, again, the Court can show leniency based on

23        that mitigating factor with a variance.

24                    I would also turn to 3553(a)(2)(D) as it relates

25        to Julian's anxiety, another consideration for the Court.
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1         Although Julian takes prescribed medication to address his

2         anxiety, which we submit certainly is a contributing factor

3         to what we watched on that screen, he never received ongoing

4         therapy for it.     And pursuant to this section I stated:           The

5         Court, in determining what particular sentence to impose,

6         should consider the need for the sentence to provide a

7         defendant with medical care in the most effective manner.

8         And that solution, Your Honor, is not found here with

9         further incarceration because prison has actually triggered

10        his anxiety.    I have already referenced the medical records

11        which show that his medication there has not been helping.

12                    When his father just saw him a week and a half

13        ago, on January 13th, that evening he had another anxiety

14        attack.    He is suffering in this prison, Your Honor,

15        psychologically, emotionally.       The most effective treatment

16        for him would be care at home, surrounded and supported by

17        his family, particularly given how much he means to them and

18        they mean to him.

19                    So I am getting to the last factor now.           I think

20        this one is particularly critical; it's the need to avoid

21        unwarranted sentencing disparities which is, of course,

22        significant in every case but especially in this one, Your

23        Honor, because so many people were charged with similar

24        activity.    And one of the functions of the judicial system

25        is to preserve integrity in the eyes of the public; preserve
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1         its integrity so that people have faith, trust in the

2         fairness of the court system.        And that's why, Your Honor,

3         we painfully provided a list of comparable defendants --

4         showed what they did, and what their sentences were.                  And a

5         review of their sentences involving January 6th supports the

6         propriety of the one now sought.

7                      We listed three defendants who deployed chemical

8         spray at officers.     Those defendants, along with all the

9         others that we identified, received sentences considerably

10        below Julian's guidelines.         And unlike Julian's conduct,

11        which was isolated -- it was fleeting, momentary -- these

12        defendants all engaged in more extensive and premeditated

13        conduct designed to strike at the heart of our democracy.

14                     Before I address these other defendants, Your

15        Honor, one point bears emphasis.         The government, when

16        arguing that its requested sentence would not create an

17        unwarranted disparity in their submission, at first didn't

18        even attempt to specifically compare other defendants.                 It

19        only did so when responding to our submission, which we

20        filed on Monday, in the document it filed this morning at

21        12:01 a.m.

22                     Putting aside the fact it's sort of an

23        eleventh-hour submission, the effort that they've undertaken

24        just highlights the unreasonableness of their stance.                 I am

25        glad they did it actually.
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1                     At the outset, although we cited the --

2                     THE COURT:    Explain that to me, because --

3                     MR. SEIGEL:    Sure.

4                     THE COURT:    -- I went through those cases today.

5         After we got them from the government, I went back through

6         yours; and they're not exactly comparable cases.              Yours did

7         not usually involve -- at least the ones you've given me so

8         far, except for a couple at the end -- but your brief did

9         not involve a dangerous weapon -- assault with a dangerous

10        weapon.    And all, except for maybe one, were within the

11        guideline range of the sentence that was covered by that

12        offense.

13                    MR. SEIGEL:    Right.

14                    THE COURT:    So there was --

15                    MR. SEIGEL:    Your Honor --

16                    THE COURT:    -- a couple of departures -- one was

17        very minor, and one was ten years, but it was a departure

18        from somewhat more -- for other matters.             So tell me how

19        this one is -- disparity is the problem in this one.

20                    MR. SEIGEL:    Sure.    So I was actually going to

21        address each one specifically but at the outset -- in

22        response to your question, the first three defendants we

23        identified used chemical spray.         The government actually

24        says -- it's crazy -- withdrawn.         It's an unreasonable

25        position.    They actually say that -- with respect to Mattice
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1         and -- excuse me, Your Honor -- yes, Mattice and Mault.

2         They, in their submission this morning, said there is no

3         proof of a presence of chemical spray with regard to Cody

4         Mattice and James Mault.      I was astonished reading that

5         because they're minimizing what they said previously in

6         taking an inconsistent position.

7                      So, I don't know, perhaps they didn't read what

8         they submitted to other judges.         But with regard to Mattice,

9         in his case, Docket No. 60 -- in their sentencing

10        submission, the government stated, quote:            He rejoined the

11        fight, traveled to the Lower West Terrace, climbing over

12        other rioters to reach the mouth of the Lower West Terrace

13        tunnel, and using a chemical spray.

14                     Today they said, oh, there is no proof he used

15        chemical spray to try to bang him out with a 90-month

16        sentence, suggesting somehow that that doesn't create an

17        unwarranted sentencing disparity.          But in front of another

18        judge, that defendant used chemical spray; he only got 44

19        months.

20                     THE COURT:    But he pled -- they didn't have him

21        plead to the assault with a dangerous weapon.

22                     MR. SEIGEL:   Right, Your Honor, and that's

23        exactly --

24                     THE COURT:    So the plea is different.

25                     MR. SEIGEL:   Right.    And that's exactly the point,
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1         Your Honor.

2                     THE COURT:    And that's the plea, though, not the

3         sentence difference.

4                     MR. SEIGEL:    Your Honor, I am glad you touched on

5         that, because that's exactly the point.             Because while the

6         government allowed, for instance -- Willden, for instance --

7         let's take him.     Another guy -- excuse me -- another

8         defendant who sprayed received 24 months.            While the

9         government allowed him to plea to subsection (a) of 111

10        rather than subsection (b) --

11                    THE COURT:    Right.

12                    MR. SEIGEL:    -- that's only because the government

13        allowed for that charging decision.         And I understand fact

14        bargaining may play a role in the distinction between the

15        charges and the attendant guidelines of various

16        defendants --

17                    THE COURT:    Right.

18                    MR. SEIGEL:    -- But the ultimate sentence to be

19        imposed on Julian Khater should not turn a blind eye to the

20        actual relevant facts of each case when seeking to avoid an

21        unwarranted sentencing disparity.         You have to look at --

22                    THE COURT:    I don't know the damages to those

23        officers, what the infliction of actual injuries were,

24        but -- other aspects of those cases.          I --

25                    MR. SEIGEL:    Well, I can address that.
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1                     THE COURT:    -- I am not convinced that those make

2         a difference in this case, frankly.

3                     MR. SEIGEL:    Your Honor, I can address that.

4         Because even assuming hypothetically that these individuals

5         caused personal injury -- I looked at it this morning --

6         that's a three-point enhancement on the guidelines.             Three

7         points which, at most, would account for perhaps a 12-month

8         difference in the guidelines -- not five years or six years;

9         or in the case of Willden, a two-year -- another, what? --

10        seven years?    Look --

11                    THE COURT:    Were those cases involving assaulting

12        two or more officers?

13                    MR. SEIGEL:    There is a case, for instance, where

14        the defendant sprays, you know, six officers at one time.

15                    THE COURT:    Okay.

16                    MR. SEIGEL:    Look, Your Honor, let me just address

17        this right now, it's the elephant in the room.            I was going

18        to go through all the cases, I don't know that I need to do

19        that.

20                    But, look, Your Honor, why is the government

21        taking the position they're taking in this case?             Honestly,

22        it's our position that they're being intellectually

23        dishonest when they come here and they try to make out

24        Mr. Khater to be this horrific monster who planned and

25        coordinated.    I think if everyone here is being honest with
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1         themselves, they know the answer.         Right?

2                     After arresting Julian Khater, but before

3         completing its investigation and receiving the autopsy

4         report from the chief medical examiner -- the government

5         publicly took a very different position than the one it

6         takes today, making hardline claims that simply were proven

7         to be false and now they have egg on their face.

8                     I want to be clear:     I am not casting aspersions

9         on my colleagues, Assistant U.S. Attorneys Gil Light and

10        Anthony Scarpelli, because they have been nothing but

11        professional during these proceedings.          They've been

12        terrific.

13                    But we know, from their own statements at prior

14        court appearances, that their actions in this case, their

15        charging decisions, how they proceed, are driven by

16        higher-ups in their office who, with all due respect, are

17        looking to save face.      And that's not this Court's function,

18        Your Honor.

19                    It's the Court's role to impose a reasonable

20        sentence, taking into consideration the objectives and

21        factors set forth in 3553.

22                    So with that said, Your Honor, Ricky Willden goes

23        into this riot, saying, you know:         I love my Proud Boys.      He

24        succeeded in breaching the doors to the Capitol Building

25        singing, you know, The Star-Spangled Banner with his fellow
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1     rioters.    He sprays officers for 10 seconds, throws the

2     canister at them.      And then the government, in that case,

3     identified at least six officers who were there subject to

4     his attack.

5                 This is what they wrote in another sentencing

6     submission:     This defendant, Willden, helped facilitate the

7     eventual breach of the Capitol Building and aided rioters,

8     injuring officers and destroying property, inciting others

9     to embolden -- inciting and emboldening others.             And then

10    showed no remorse after; posting on Facebook:            I think they

11    got the message from everyone of all ages.

12                Now, Ricky Willden -- I didn't know that man's

13    name until researching these cases -- I think if he were in

14    the public spotlight, he too wouldn't be here with a 111(a)

15    charge; it would be a 111(b).

16                Mattice and Mault, I already mentioned them.              In

17    addition to what they did, attacking officers with spray,

18    chemical spray, despite the government saying there is no

19    proof now, they did before.        In the midst of all of this and

20    pulling down the bike rack, Mattice is texting his family

21    and bragging about breaking the police line.            He then

22    discharges chemicals -- this is the government's quote -- at

23    police officers for about 10 seconds.

24                And unlike Mr. Khater, then -- I guess he is proud

25    of himself, this guy -- he sends his mother a selfie-style
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1     photograph, and later bragged about his participation; and

2     then, after, lied to FBI agents about it.             Not Khater,

3     Mr. Khater.

4                 Julian Mault [sic] led the mob that penetrated the

5     police line in the West Plaza before he went ahead and

6     sprayed.    And then, afterwards, he is actually antagonizing

7     officers:    I am going to -- quote -- kick the shit out of

8     you.

9                 Seeking to justify the mob's conduct, he then

10    tells officers:      I obey the F'ing law every goddamn F'ing

11    day, every F'ing day.      Where the F's that got me?          Everyone

12    else breaks the law.      And then he lied to FBI agents.              This

13    is the government's words:         He minimized and denied his

14    unlawful conduct, parroted baseless conspiracy theories, and

15    still posed a substantial risk of committing future

16    political violence.

17                He got 44 months, less than half the time the

18    government seeks for Julian Khater.

19                I will go on.

20                Devlyn Thompson, 46 months; he used a metal baton

21    against others.      Right.   So this is the government's

22    response this morning to that one.

23                This is great.     They said, well, it was only a

24    metal baton, it wasn't spray.         He only injured some people,

25    not others.     So that's the distinction.
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1                 And the funny thing is, Your Honor, that this is

2     the best the government can do with our 12.              They identified

3     five to distinguish which aren't distinguishable because

4     three of them used chemical spray, and the other two still

5     engaged in violent conduct.

6                 What the government doesn't do is touch the other

7     seven defendants that we've identified who got considerably

8     less sentences than Mr. Khater in our submission -- would

9     clearly establish, if he were sentenced to anything greater

10    than we were asking -- there would be a sentence disparity.

11                Alan Byerly -- I'll skip right to number 12, I

12    know you've read all of these -- so three separate assaults,

13    34 months' incarceration.          What did he do?      So he used a

14    large sign as a battering ram against -- against a line of

15    police officers, and the barricades -- he took that down.

16    And then this guy goes ahead, participates in a vicious

17    assault against an Associated Press reporter who he is

18    dragging down the streets; then he uses a stun gun against

19    Capitol -- Metropolitan Police.           By the way, he got a 111(a)

20    charge, not a (b).      It's okay.      A stun gun, I guess, there

21    is not a dangerous weapon, although we'll engage in fact

22    bargaining, ignore it; we'll give him a guidelines plea to

23    get rid of that guy.

24                But that's not the reality of what this Court

25    needs to look at in terms of relative conduct.               He used a
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1     stun gun.    And then, after the officers removed the stun gun

2     from that person, he continued to charge towards the

3     officers, physically striking and pushing against them, and

4     grabbed an officer's baton.        And then lied to federal agents

5     when they caught him, and said:         This is a political F'ing

6     persecution.

7                 The other defendants that the government just said

8     today in their submission -- because I didn't get a chance

9     to respond to this -- that they claim are analogous -- okay.

10    So three new cases they cited.        I'm sorry I didn't have a

11    chance to respond to this in writing, Your Honor, I didn't

12    see it until I woke up.

13                But with regard to two new defendants, Albuquerque

14    Head and Kyle Young -- with regard to Head, the government

15    says:    No dangerous weapon was used on an officer.              They

16    must have overlooked what they wrote in that case because,

17    as Head was pushed out of the tunnel leading to the Capitol

18    Building, quote:      He did not retreat.      Rather, he wrapped

19    his arm around an officer's neck and admitted a sickening

20    yell to his fellow rioters, "I've got one."              And then he

21    forcibly dragged that officer into the riotous mob,

22    isolating him, as the crowd violently assaulted the officer.

23    He then continued -- because he is not letting go of this

24    guy -- to restrain the officer while another rioter -- one

25    that Head called over, "Come on over."              "Come on, let's get
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1     this guy" -- applied a Taser to the base of the officer's

2     skull.    I guess they don't think that's a dangerous weapon

3     there.

4                 And then Head only let go when the officer reacted

5     with enough force to free himself.          And after the officer

6     screamed in agony, Head -- I quote the government in the

7     other case:     Reached toward the officer, repeatedly grabbing

8     on to the officer and trying to regain control of him.                And

9     then after -- this is good; the government left this out.                 I

10    guess they must have overlooked this in their submission

11    this morning.       They left out that Head, quote:        Twice struck

12    towards the police line with the riot shield.            And he did

13    this not for seconds, but for a good number of minutes.               And

14    then, after, posted on social media he's proud to have been

15    there.

16                Like so many other defendants who then boasted,

17    after lying to the FBI, or before they lied to the FBI:               I

18    want to come back with rifles.        I want to take down these

19    officers.    I want to -- do all of these things.

20                Young, the other defendant they identified in

21    their submission, participated in the same assault as

22    Albuquerque Head, attacking and restraining the same officer

23    so that he can be tased.       Young purposely gave the Taser to

24    another rioter, showed him how to use it so he could attack

25    the helpless officer.      And then what the government
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1     neglected to tell the Court this morning in their submission

2     is that this guy, Young, turned his sights on another

3     incapacitated officer, attacking him.          That's on page 3 of

4     the government's submission in that case, Docket No. 140.

5                 And, moreover, showing no remorse, Young bragged

6     to a reporter:      I don't let cops push me around -- which is

7     consistent with him urging other rioters during the melee

8     to:   Pull the cops out.     Grab their hands and pull them out,

9     and we've got them.

10                And then, along the same lines, the third new

11    defendant that they brought to the Court's attention to

12    somehow suggest that this violent, ongoing, aggressive,

13    continuous conduct with no remorse, as akin to what

14    Mr. Khater did, is Thomas Webster.

15                What Thomas Webster did, according to the

16    government, was come to D.C., quote:          Armed and ready for

17    battle with a bulletproof vest, and -- oh, this is great; I

18    was surprised to see this this morning.             They didn't tell

19    Your Honor.     This individual, Webster, came to D.C. to the

20    riot armed with a gun.      That's what they think is analogous

21    to Mr. Khater.      But hold on.    I'll continue.

22                With a bulletproof vest and a gun, antagonizing

23    officers, saying, quote:       You F'ing piece of shit.          You

24    F'ing commie -- excuse me, Your Honor -- motherf'ers, man,

25    you want to attack Americans?        Well, F that.       And that was
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1     before Thomas Webster attacked officers with a pole he used

2     as a weapon.

3                 And what the government also didn't tell you in

4     their submission this morning is that Webster then also

5     charged at another officer and personally tackled him to the

6     ground, dragged him by his helmet, pinned him to the ground,

7     tried to rip off his mask -- which choked him and caused him

8     to struggle to breathe -- the government wrote that.              That

9     was -- and after that, Webster continued to advance towards

10    the Capitol Building.      That's at page 21 through 23 of the

11    government's submission in U.S. v Webster, Docket Entry 104.

12                And unlike Julian Khater, Thomas Webster didn't

13    have remorse or accept responsibility because he went to

14    trial, and he was convicted.        But somehow the government

15    stands up here and says that individual is analogous to

16    Mr. Khater.     It's just not honest.       And I know why -- and,

17    again, I am not faulting these individuals; I have nothing

18    but respect for them.

19                Lastly, the government doesn't deny that these

20    defendants, unlike Julian Khater -- the ones I just

21    identified and the ones in our submission, 12 of them --

22    planned for violence, coordinated their attack, engaged in

23    continuing violence and aggression intending to make a

24    political statement; and they showed no remorse.

25                But contrary to them, Julian Khater didn't plan
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1     his assault.        He didn't belong to some militia or extremist

2     organization.       He didn't enter the Capitol Building.             I left

3     those people out, by the way, because I'm flying through the

4     submission.

5                 But people that went into the Capitol Building --

6     one of them said:       There's the Speaker's office.           Let's go.

7     These people are getting 30 months, 40 months.                Okay.

8                 Also, after -- those people are then bragging on

9     social media, lying to the FBI, minimizing their conduct.

10    None of the things that Julian Khater did.               He didn't brag

11    on social media or elsewhere about his conduct.                He didn't

12    urge others to engage in violence, like some of the people I

13    just mentioned.       He didn't engage in political rhetoric

14    justifying his actions.       He didn't verbally antagonize or

15    insult officers, and he didn't boast about committing future

16    acts of violence.

17                I'm coming to the end here, Your Honor.

18                But the government corroborates these facts in its

19    submission, writing on page 17, quote:               The government's

20    investigation has not uncovered evidence that Khater

21    committed any more assaults or acts of violence that day.

22    The government's investigation has not uncovered evidence

23    that he entered the U.S. Capitol Building.               And, in fact,

24    they confirmed that he, quote:         Left the area.

25                The government's investigation has not uncovered
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1     evidence that Khater posted on social media or made any

2     public comments regarding his involvement in the assault on

3     the Capitol.        Because he did not.

4                 Likewise, on page 10 of its submission, the

5     government says:       The government's investigation uncovered

6     no evidence that either Khater or Tanios planned to advance

7     to the Capitol prior to January 6th or prior to January 6th

8     they intended to enter the Capitol Building or interfere

9     with the lawful counting of the Electoral College votes.

10                Julian Khater didn't lie to law enforcement about

11    his actions like so many others.          Again, what we saw here

12    was aberrant behavior over a limited period of time in a

13    very stressful situation that was fueled by his anxiety, and

14    then he left the area.

15                Immediately after his arrest he cooperated with

16    law enforcement, honestly admitting that he deployed the

17    sprayed; signed the consent form so he can get it;

18    identifying himself, identifying his codefendant; talking to

19    them for hours, expressing genuine remorse.             Your Honor,

20    these circumstances distinguish him from all of the other

21    defendants which mitigate his conduct.

22                And because of that, further imprisonment at this

23    stage, in light of all of these considerations I identified,

24    would subject him to an unwarranted sentencing disparity.

25    But the government seeks to justify its request for a
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1     greater sentence than all of the defendants I identified by

2     years -- not because Julian planned to coordinate it like

3     them or because he sought to interfere with democracy like

4     them, but because he impromptu -- listen to this one -- page

5     24 of their submission, "He jumped into the fray," as if

6     somehow it's worse to just jump into something in an

7     emotionally charged instant than the people who planned and

8     coordinated everything.      Talk about backwards, Your Honor.

9                 It tells you everything you need to know because

10    it's just not a reasonable position and it's not grounded in

11    reality.    But, still, they seek to attribute -- I just heard

12    it here today, we all did, the government say that:

13    Mr. Khater should bear a greater responsibility for the

14    breach.    Here is why.    Quote, "The cumulative effort of all

15    the rioters allowed for the breach."          Okay.    Well, then that

16    should be factored into the sentences for all of the other

17    defendants that I have identified.          That doesn't justify the

18    disparity that the government seeks here.            If it's -- all of

19    the defendants are to be cumulatively held responsible,

20    that's already factored in, Your Honor.

21                Your Honor, as I pointed out, I understand the

22    reason they're seeking 90 months in this case; I know why.

23    It's not based on the 3553 factors.          It's based on, I think,

24    other agenda, based on a hardline position they took at the

25    beginning of this that they just won't walk back from
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1     because of the scrutiny that it's received.

2                 But as I pointed out, it's not this Court's

3     function, with all due respect to the government, to help

4     them save face.       It's to impose in accordance with

5     Congress...

6                 I just had a thought.        You know, we're here

7     talking about the integrity of Congress, right?              The

8     legislature.        And yet, honestly, with all due respect to the

9     government, I think the sentence they're asking does a

10    disservice to it.       Because it's Congress that enacted

11    Title 18 U.S.C. 3553(a), which requires the Court to

12    consider these factors, and the government is just

13    disregarding it to advance their own agenda; and it's not

14    right, Your Honor.

15                3553, all of the factors I cited, supports the

16    imposition of time served based on who he is as an

17    individual.

18                THE COURT:      You're asking me to depart 56 months

19    down from the lowest range, right?

20                MR. SEIGEL:      I'm sorry, Your Honor?

21                THE COURT:      You're asking me to depart almost five

22    years below the range that's suggested?

23                MR. SEIGEL:      Your Honor, what I am asking the

24    Court -- maybe this is just --

25                THE COURT:      You want me to vary that much?
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1                 MR. SEIGEL:    Your Honor, what I am asking the

2     Court to do -- the variance -- yes, Your Honor.

3                 I am asking the Court to say that the guidelines

4     in this case don't capture who Julian Khater is, the

5     circumstances surrounding this event and, importantly, the

6     need to avoid unwarranted sentencing disparities.

7                 Your Honor, to the extent the government now wants

8     to say:    We should impose a higher sentence on him by 90

9     months because it's appropriate here, it's within the

10    guidelines.     Well, then that's on them for creating -- if

11    they believe that a sentence outside the guidelines is

12    inappropriate, Your Honor -- if they think that a reduction

13    is inappropriate, then that's on them for creating this

14    unwarranted sentencing disparity.

15                THE COURT:    The guidelines -- the guidelines were

16    in the plea agreement.

17                MR. SEIGEL:    They were, Your Honor.

18                THE COURT:    No one is objecting to that or to the

19    presentence report; those are the guidelines.

20                MR. SEIGEL:    There's no dispute about that

21    whatsoever.

22                THE COURT:    The government is not asking for more

23    than the guidelines.

24                MR. SEIGEL:    I'm sorry?

25                THE COURT:    The government is not asking for more
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1     than the guideline sentence.

2                 MR. SEIGEL:    That would be even beyond --

3                 THE COURT:    They're asking for the upper range of

4     the guideline sentence, not the maximum.

5                 MR. SEIGEL:    You know what is interesting --

6                 THE COURT:    You want me to consider whether --

7     your premise that it's a vast disparity between the 950

8     other riot cases we have here and this case --

9                 MR. SEIGEL:    Right.

10                THE COURT:    -- where only about 354 of them have

11    been sentenced.      At least to that group that has been

12    sentenced it's somehow a great disparity in this case?

13                MR. SEIGEL:    Right.

14                And you know what I'd add -- so it's interesting.

15    Even the probation department -- just to show how

16    unreasonable the government's being here -- and, again, I

17    want to put this on the record because I have nothing but

18    fondness for these two individuals; I mean, it's not coming

19    from them, I know that.

20                But even the probation department in this case

21    asked for a sentence at the low end of the guideline range.

22    And just from experience, we know probation -- unless they

23    consider it to be a downward departure, which the plea

24    agreement in this case precludes -- isn't going to ask for

25    something below the low end; it's the floor for them.                  So
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1     even they recognize there's a need for treating him

2     differently and recognizing that leniency and compassion are

3     warranted.

4                  The government is going -- it's funny.           In their

5     submission -- I guess their math is off -- they say, oh,

6     we're looking for an approximate mid-range point of 90

7     months.    Even that's not truthful.        The mid-range point in

8     that range is 86 months, not 90.

9                  So, Your Honor, the fact is the government right

10    now is saying sentence within the guideline range to avoid

11    the -- that's the appropriate punishment.            But, again, it

12    would create an unwarranted sentencing disparity which in

13    this particular case, Your Honor, I think is as critical as

14    it could ever be.      And, again, it's Congress -- Congress

15    that requires that consideration.

16                 So, Your Honor, all of these factors support the

17    imposition of time served and supervised release -- I am

18    wrapping up -- with the condition of mental health

19    treatment.

20                 And in terms of those factors under 3553, which

21    the Court noted -- respect for the law, just punishment for

22    the offense -- that can reasonably be achieved with such a

23    sentence.    Through his plea of guilty, his acceptance of

24    responsibility, his conduct on day one when he was arrested,

25    he demonstrated his respect for the law.            And his
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1     imprisonment at the CTF is more than -- I mean, much more

2     than just punishment, it's cruel.

3                 Second, he is not the type of person of whom to

4     make an example for the sake of, quote:             Adequately

5     determining criminal conduct by others.             You don't need

6     him -- to hoist him up as an example, a paradigm for general

7     deterrence.     You know, based on everything we know about

8     him, he has shown himself to be a kind and compassionate

9     man.

10                Likewise, Your Honor, specific deterrence, I mean,

11    that's just -- with all due respect, it's silly.

12    Imprisonment isn't needed to protect the public from further

13    crimes by him.      This was aberrational, and there's no real

14    danger -- there's none from him.

15                What is needed is court-mandated mental health

16    treatment to address his anxiety.         And for that matter, Your

17    Honor, he has clearly been chastened by this ordeal.               He

18    doesn't pose any risk of recidivism.          You will hear from him

19    momentarily.

20                But given what he has endured over the last two

21    years in prison, separated from everything that is dear to

22    him, he is more desirous than ever to lead a healthy,

23    law-abiding, and gainful life; and we have already seen

24    that.    Because even in the facility he has already turned

25    that corner and doing things in the service of other people.
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1                 Lastly, Your Honor, imprisonment, rather than

2     fostering his rehabilitation, it's going on -- it's

3     undoubtedly going to hamper it.         In fact, he still suffers

4     from anxiety attacks as recent as a week and a half ago.              He

5     needs help.

6                 Anyway, Your Honor, imprisonment at this stage, I

7     think, only serves one purpose for imprisonment, and that is

8     to advance the unnecessary aim of retribution for its own

9     ritualistic sake.      In contrast, permitting him to return

10    home, tend to his mental health surrounded by his family,

11    would further -- best further his ongoing rehabilitation.

12    And it would also -- particularly in light of everything he

13    has suffered to date -- be sufficient to satisfy the

14    purposes of 3553.

15                So based on all of these reasons, Your Honor,

16    we're asking the Court to impose that nonguideline sentence.

17    Thank you very much.

18                And if you have any questions --

19                THE COURT:    All right.     Thank you for that,

20    Mr. Seigel.     I am going to take a break.

21                I do want the government to respond briefly as to

22    the challenge on the unequal sentencing.

23                Also, I am going to address the potential of a

24    fine in this case.      We need to discuss that when I get back

25    as well.
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1                 MR. SEIGEL:    Sure.

2                 THE COURT:    All right.     We'll take about a

3     ten-minute recess, then return please.

4                 MR. SEIGEL:    Thank you, Your Honor.

5                 (Whereupon, a recess was taken.)

6                 THE COURT:    All right.     We're returning to

7     sentencing.     At this time, I will have the government

8     briefly respond to the counsel's allocution for Mr. Khater.

9                 MR. LIGHT:    Yes, Your Honor.          Thank you.

10                I will try to be brief.       I know lawyers like to

11    get into tit for tat -- I'm not going to do that, and

12    respond to everything that Mr. Seigel said.

13                But there are a few corrections I would like to

14    note, starting with Mr. Seigel's assertion that Mr. Khater

15    was actually in the act of being sprayed when he sprayed

16    these three officers; that is simply factually inaccurate.

17    He has not shown us video of Mr. Khater being sprayed

18    because it does not exist at that moment.              And we allocuted

19    for -- in detail as to the premeditated nature of that

20    assault; this is not impulsive behavior.             I'm not going to

21    repeat myself.

22                But on that factual point, there is nothing in

23    those videos that shows Mr. Khater being sprayed at the

24    moment before he begins spraying these officers.               He sprayed

25    twice.
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1                 MR. SEIGEL:    Your Honor, if I may.          We agree.     We

2     didn't say that.

3                 MR. LIGHT:    The first time --

4                 THE COURT:    No.      Let him finish.      Don't interrupt.

5                 MR. SEIGEL:    Sorry, Your Honor.

6                 MR. LIGHT:    The first time he is sprayed at

7     minutes -- or he comes into contact with spray at,

8     approximately, 2:09 to 2:13, and that's when he comes back

9     and is recorded saying:      They just sprayed me.           And the

10    second time he is sprayed is when Lieutenant Bagshaw douses

11    him because he's been spraying officers, as many people as

12    he could, for at least 30 seconds or longer.              So I just

13    wanted to correct that factual point.

14                I know the Court has asked us to address the

15    disparities and respond on that argument, which I will.

16                First, I would like to note that our filing was

17    not an attempt at sandbagging or some sort of late night

18    gotcha move by the government here.            The Court did set a

19    three-day response for filings at the last status -- when it

20    first set the memoranda schedule for our briefing.                We filed

21    it at 9:31 p.m., not at 12:01 a.m.            I know that because I

22    was playing Wordle at 12:01 a.m. and not filing paperwork.

23    This was not some sort of an attempt to get a last word in

24    here; this was the Court's briefing schedule, okay.

25                Now, with regard to the disparities that
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1     Mr. Seigel is alleging.      First, as the Court is well aware,

2     there is a plea bargaining process that is unique to every

3     single case, and that is not reflected necessarily in any of

4     the supporting literature or documentation.             There may have

5     been proof problems; there may have been concessions made,

6     bargaining -- that may account for some of these

7     disparities that --

8                 THE COURT:    Some of it would be due, I assume, to

9     the charging decisions of the government --

10                MR. LIGHT:    Yes.     And the charging decisions --

11                THE COURT:    -- on each case, whether they're going

12    to bring the charge, even though there may be conduct that

13    they could charge, they don't charge.

14                MR. LIGHT:    And our charging decisions are based

15    on the proof that's available to us, and that is different

16    in every case.

17                In this case, we have three identified victims,

18    three of them who suffered; and there is an injury

19    enhancement reflected in the guidelines for serious bodily

20    injury that applies.      These were unprotected officers.

21                In many of the cases that Mr. Seigel is talking

22    about, those officers were in full riot gear.             They did not

23    suffer; they did not experience the serious bodily injury.

24    It was a bad assault, to be sure, in many of those cases,

25    but the degree of injury is determinative in many of these
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1     examples.

2                 And I hesitate to make broad, sweeping claims on

3     any of this because we have reached a guidelines sentence

4     based on the conduct, based on the charges.            I remind the

5     Court that we easily could have maintained that Mr. Khater

6     had to plead guilty to three assault victims because we

7     identified three, at a minimum.         And he was given a benefit

8     of pleading to two which also lowered his guidelines range.

9                 This is not some higher-up DOJ conspiracy.

10    Myself -- Mr. Light -- and Mr. Scarpelli put our names on

11    this brief.     This is not a penalty we're asking for because

12    of the nature of the case, because of the media attention.

13    We have charged this case from the beginning based on the

14    facts, based on what we have seen, based on what we can

15    prove in a court of law.

16                Our sentencing allocution reflects those

17    principles.     It is the right sentence; it is based on the

18    conduct.    And there is no disparity with these other cases

19    where they just do not have the same degree of injury or

20    this type of assault on unprotected officers who suffered

21    the way that they did.

22                The last thing I will say in terms of the

23    disparities, Mr. Seigel makes much about the defendants in

24    those cases and their words.        The things that they said

25    leading up that might have evidenced their intent, whether
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1     it was pro-Trump slogans or "Take This Over" or "Stop the

2     Steal" -- whatever it was, we're all familiar with all of

3     the rhetoric that accompanied many of these cases.              We

4     acknowledge that is not present here; that is not a defense.

5                 Again, the actions of Mr. Khater speak louder than

6     any of those words, and we have argued that at length.                We

7     have asked for this sentence.        And I am happy to answer any

8     other questions Your Honor has about specific cases.

9                 THE COURT:    All right.     Thank you.

10                MR. LIGHT:    Thank you.

11                THE COURT:    Mr. Light, come up for a minute, and

12    then Mr. Khater will come up.        Mr. Light, you can come up

13    for a minute.

14                I'm sorry, Mr. Seigel.       You can come up for a

15    minute.

16                MR. SEIGEL:    That was the confusion.         Thank you.

17                THE COURT:    Mr. Siegel, you can come up for a

18    minute.

19                I was looking at your pleadings here, sorry.

20                MR. SEIGEL:    Thank you.

21                THE COURT:    Go ahead.     And then we'll have

22    Mr. Khater, too, please.

23                MR. SEIGEL:    And at the outset, I want to

24    apologize for interrupting.        I thought I might be able to

25    save a little time.
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1                 For clarity, the defense never said that

2     Mr. Khater was sprayed at the moment he was sprayed; we

3     acknowledge that it was minutes earlier.

4                 What I had said was that before he sprayed,

5     Lieutenant Bagshaw -- and we saw this on the video -- was

6     spraying the crowd in which he was present, not that he

7     himself was sprayed at that moment, in just talking about

8     the chaos in that situation.

9                 THE COURT:    I remember the video showing the spray

10    over the crowd; although, I don't think Mr. Khater was hit

11    by the spray in those videos.

12                MR. SEIGEL:    Not at that moment, correct.

13                THE COURT:    All right.

14                MR. SEIGEL:    In terms of their -- the government's

15    response now, the plea bargain process is unique to every

16    case, and takes into con- --

17                THE COURT:    I have heard enough about disparity.

18    We're going to move ahead with the sentencing, please.

19                MR. SEIGEL:    Okay, Your Honor.

20                I think I have said everything.

21                The guidelines are controlling here, it's one

22    consideration.

23                And in terms of other defendants, we see all of

24    the videos and photographs pertaining to them as well, and

25    the government still gave them what they gave them in terms
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1     of plea disposition.

2                  So, Your Honor, ultimately, it's the facts that

3     should drive the Court's consideration here.            So I haven't

4     heard anything that the government said in response to the

5     Court's request for them to clarify the sentencing disparity

6     issue.    It's still our position, based on all of the cases

7     that we've cited, that sentencing Mr. Khater to anything

8     greater than we're requesting would, in fact, create such a

9     disparity.

10                 So that's our request, Your Honor, the sentence of

11    time served with supervised release.          Importantly -- and

12    this is critical, we're asking for this -- court-mandated

13    mental health treatment for his anxiety.

14                 Thank you.

15                 THE COURT:    All right.    I want to ask you about

16    potential fines in this case.        Probation didn't cover that

17    in their report.      There is some report Mr. Khater has a fund

18    of some type of stock, or something, $20,000.

19                 MR. SEIGEL:   Yes.

20                 THE COURT:    There was also evidence at the bond

21    hearing of substantial family wealth available.

22                 MR. SEIGEL:   So I have spoken -- I will deal with

23    the family wealth issue first.        I have spoken to his father

24    who, at some point, had some assets.          They have been

25    expended in connection with this ordeal, including --
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1     without getting into too much detail, a civil lawsuit that

2     was just filed.      He needs to tend to that as well.

3                 With regard to Mr. Khater's assets, he doesn't

4     have anything of substance.         That being said, I spoke to

5     him.    And there was a GoFundMe -- that's the reason why the

6     family had this GoFundMe page, trying to raise money for his

7     legal defense.      I think the amount that they came up with

8     was 18,000 --

9                 250?

10                $18,325, Your Honor.

11                THE COURT:    All right.

12                MR. SEIGEL:    That, in fact, did go towards the

13    legal defense.

14                I spoke to Mr. Khater about this.            You will hear

15    from him.    He is tremendously remorseful, and he said

16    whatever the Court wants.          Even though the moneys went

17    towards his legal defense, if the Court sees fit to impose

18    that as part of the fine, he will assume that.               He will

19    defer to the Court, Your Honor.

20                THE COURT:    Well, what I am referring to -- maybe

21    he spent it in the meantime, although he has been in prison

22    for almost two years -- is the probation report indicates

23    that he had two funds.      I thought there was some type of

24    investment or stock funds; it was on page 16 of the report.

25                (Whereupon, counsel confer.)
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1                 THE COURT:    It's paragraphs -- under:          Financial

2     Condition, Ability to Pay, paragraph 93 and 94B.

3                 (Whereupon, counsel confers with defendant.)

4                 MR. SEIGEL:    Your Honor, so since Mr. Khater has

5     been in custody for two years, he doesn't know what is still

6     in that account.      But at the point he was arrested those

7     funds were, in fact, in there, approximately.

8                 Again, we defer to the Court.

9                 THE COURT:    I'm sorry.     Were approximately there,

10    but they aren't there now?

11                MR. SEIGEL:    He doesn't know.         He hasn't seen

12    these accounts for two years.        He has been in custody.

13                THE COURT:    So he had nobody look at that account?

14    He doesn't know what's in there or not?

15                MR. SEIGEL:    No.

16                THE COURT:    A Webull [sic] account is what?

17                (Whereupon, counsel confers with defendant.)

18                MR. SEIGEL:    Your Honor, it's an investment

19    account, obviously with balances that fluctuate.              He has not

20    accessed that account in two years.          He doesn't know what's

21    there.

22                THE COURT:    All right.     And the 18,325 in the

23    GiveSendGo account, created by his -- obvious -- father,

24    apparently that's been spent for legal fees, et cetera?

25                MR. SEIGEL:    That's correct, Your Honor.
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1                 THE COURT:    Okay.    Thank you.

2                 All right.    Mr. Khater, do you want to come up --

3     you have a right to address the Court before I finally make

4     a decision and enter a sentence at this time on you.              I am

5     anxious to hear what you have to say about this situation,

6     frankly.

7                 MR. SEIGEL:    Your Honor, Mr. Khater prepared a

8     written statement.      I just wanted to let the Court know that

9     these are entirely his words.        He shared them with me, but

10    he did this entirely on his own.         And he wrote it because,

11    obviously, today is emotional, he didn't want to come --

12                THE COURT:    All right.     I appreciate that.

13                Thank you, sir.

14                THE DEFENDANT:     Thank you, Your Honor.

15                My name is Julian Khater.        It's been 684 days

16    since the day of my arrest on March 14th, 2021, and 751 days

17    since the day of January 6th; the better half of that time

18    being spent in total solitary confinement.

19                To say the least, this has been a long, agonizing

20    but humbling experience that has taken a huge toll on me.                I

21    look back at the picture that was taken of me at intake

22    almost two years ago, when I first got transferred to

23    Washington, D.C., and hardly recognize that person.

24                During my time in solitary confinement, I have had

25    ample opportunities to do some soul-searching, read good
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1     books, further educate myself, self-reflect, meditate, and

2     pray.

3                 With the limited resources I had, I have taken

4     every single chance I possibly could to better myself as a

5     person.    I have read every single book I could get my hands

6     on.   I have listened to audio books, motivational speeches,

7     Ted Talks, and many, many sermons.          I have also been taking

8     medication for my often crippling anxiety.

9                 Your Honor, what happened on January 6th, there is

10    no words for it.      It's extremely unfortunate, and I wish I

11    could take it all back.      The families affected don't deserve

12    that, and our great officers certainly don't deserve that.

13    I realize the damage that was done that day.

14                I understand that to many people January 6th is

15    not just a date in history, but a date that lives on in

16    people's minds and memories -- still affects them to this

17    day, a date that some will never forget.

18                Your Honor, I can assure you, as my counsel has

19    and have many honest character letters, that what transpired

20    that day is not in my nature; it's not who I am.             And it

21    most certainly was a one-time thing that will never happen

22    again.    I have learned and grown so much from this

23    experience, and I am a better person because of it.

24                Every human being has those certain defining

25    moments in their life; January 6th and, consequently,
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1     March 14th are those dates and experiences for me, and I

2     will carry them with me as long as God gives me.              I have

3     prayed and prayed, and will keep praying for every single

4     person affected.

5                 I really appreciate you for hearing out me today,

6     Your Honor, and I thank you for your time.

7                 THE COURT:    Mr. Khater, let me just ask you a

8     couple of things.      I am concerned because, obviously, this

9     is a case that originally started out as a case where you

10    could be charged with murder.

11                Unfortunately, there was a lot of speculation in

12    the press, inaccurate; that Officer Sicknick had been hit

13    with a fire extinguisher and badly injured, and that could

14    have caused his death.      Then there was statements about the

15    chemical spray causing his death.          And for several weeks, if

16    not more, people believed that -- not unfairly; that's what

17    the press was saying, and that's what people were reporting.

18    And not until April did the coroner's report come out

19    indicating he died of natural causes, which were two strokes

20    the next morning.

21                Although, I think people, I am sure, can conclude

22    in their own mind that the spray may have caused it.               But

23    medically they haven't shown that yet, so you are not

24    charged with that offense.         But that is obviously the

25    elephant in the room that has caused a lot of concerns in
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1     this case.

2                  I have to, as I said earlier, sentence you on the

3     basis of what you pled to and what you did that day, not on

4     what subsequently may come out in other litigation that's

5     not before me -- or not.       I am concerned about what you did

6     do, however, regardless if you are responsible directly for

7     the death of Officer Sicknick.

8                  I am not going to give a lecture on the riot; we

9     have seen the films.      We have all had, in this court at

10    least, lots of cases.      And I must say, each time you see the

11    films of the riot you are shocked over again; I mean, it's

12    something you don't forget.

13                 And your counsel made an argument -- a lot of

14    argument about it -- it was an emotional time.             Everybody is

15    upset, high anxiety, and it's aberrational.            But I think --

16    and it may be an aberration in your case or not.             But it

17    occurs to the Court that's true about 95 percent of the

18    people at the riot.

19                 There were a few that planned it.         There were a

20    few that executed it, and they did that with military

21    precision and intent -- and that's different.            And some have

22    been convicted already of sedition and insurrection against

23    the United States.

24                 But I think the bulk were there because they were

25    unhappy with the election and believed the preaching by
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1     their former President and followed his directions to go

2     down and stop the steal.

3                 What concerns me a little bit is your thoughtful

4     statement right now did not really include any apology to

5     the officers who you sprayed, any -- directly.              I mean, what

6     you apologized -- you are sorry that it happened.              I didn't

7     hear anything personally about who you sprayed, and what you

8     did to them personally in detail.

9                 MR. SEIGEL:      I think he did, Your Honor.

10                THE COURT:      Let me finish my talk, please.         Gosh.

11                I didn't hear any sorrow about what happened to

12    everybody else at the Capitol that got hurt, the 140

13    officers who were hurt by people attacking them.

14                I didn't hear any expressions of sorrow and

15    concern about the employees in the Capitol who hid for their

16    lives; many resigned after it, could never come back to

17    work.    Many of the police officers quit and could not come

18    back to work.

19                You saw the effect on Officer Edwards.            It's two

20    years later, and she's still destroyed when she tries to

21    talk about it.

22                It's something that is -- I think somewhere along

23    the line we have lost the sense of acceptance of

24    responsibility.       I have a lot of these pleas.        Everyone come

25    in and says:        It's hurt my life, I've lost my job.         This is
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1     terrible.    I am so badly treated these days.

2                 These officers have lost their lives.           There are

3     officers who committed suicide after this.            There are

4     officers who had to quit and can't go back to work; their

5     families are affected, and we don't hear about that.

6                 I mean, what everybody is sorry for is about what

7     they feel in their own situation now; and I find that is a

8     very self-centered approach to what true acceptance of

9     responsibility is in these cases.

10                I'll accept you're sorry for what happened.               I'll

11    accept that you regret that you did such a thing; and I do

12    think it is unusual in your life.         I don't know what got

13    into you.

14                I can't find it's some overanxiety thing that you

15    did this because it didn't happen -- it was over a period of

16    several minutes.      Somehow you got determined to push your

17    way through the crowd.      You didn't just turn around and run

18    up there and attack them; you got the spray.

19                You talked to Mr. Tanios before you came down here

20    when you checked if he really wanted to come down here,

21    apparently; and you went with him.          You talked to him on the

22    phone about buying the spray, and you had it carried by him

23    onto the premises or the area of the Capitol.            And at one

24    point, because there was rioting going on all around, you

25    decided you wanted the spray, and you wanted to spray the
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1     officers.    That was a decision you made.

2                 It wasn't something -- you grabbed a can and threw

3     it at somebody.       It's -- it's a decision you made to get it,

4     to wait a while, to work your way up through the crowd, to

5     get to the front of the crowd -- to get right next to the

6     officers.    And, particularly, the officers -- they didn't

7     have all of the videos today; but it's very clear that these

8     officers did not have a lot of protective gear.

9                 Officer Edwards had nothing.             You just walked up,

10    within three or four feet of her, and sprayed her directly

11    in her face; I mean, held it right there into her face to

12    hurt her.    I see no excuse for that.         I see no rationale

13    that you were upset and anxious and so you attacked them.

14    It happened.        And I am not -- I can't find any other way to

15    get around that.

16                Your counsel has argued it's unfair for you to be

17    charged with this compared to the other people who may have

18    done other things or worse.         I think those are charging

19    decisions by the government that don't relate to this case

20    directly.

21                I do give you credit for your two years, almost,

22    of service in the D.C. jail system.           That's a bad system,

23    it's had problems; I disagree with it.               But I think that

24    that is unfortunate, and I am going to consider that in my

25    decision on how much to sentence you to.
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1                 But I am concerned about what happened to these

2     officers.    I don't find any excuse for anyone attacking an

3     officer -- particularly in this situation, doing their

4     duty -- facing overwhelming odds of thousands of people

5     attacking and screaming at them, throwing things at them,

6     taking away the bike racks in front of you.             I don't find

7     any excuse for that that I can say that because you were

8     emotionally upset that that is some kind of a situation I

9     should depart downward from the guidelines by several years.

10    I see no basis for that.

11                Your counsel is up, and he wants to say something.

12    I will let him have one more statement.             That's it.

13                MR. SEIGEL:    Thank you, Your Honor.

14                And the statement is not from me.           It's unusual --

15    not typical -- but Mr. Khater actually wanted to respond to

16    the Court because he takes it to heart --

17                THE COURT:    He can respond.       I have no problem.     I

18    didn't say he couldn't.

19                THE DEFENDANT:     Can I just say something real

20    quick --

21                THE COURT:    Sure.

22                THE DEFENDANT:     -- in response to what you have

23    said?

24                I have been working on this for a very long time.

25    I've had many rough drafts.
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1                 The first thing that I said to my attorney is I

2     want to apologize to the officers.          You yourself said it's

3     an elephant in the room.

4                 As I was writing this, I got served with my civil

5     service thing and, in light of that, I didn't want to touch

6     on it because there is a civil thing going on.             I wanted to

7     apologize to everybody.      But at the advice of my counsel,

8     one, I never reached out to them at the advice of my

9     counsel.

10                MR. SEIGEL:    There is an attorney-client issue --

11                (Simultaneous speaking.)

12                THE COURT:    Stop if you are afraid of a civil

13    liability --

14                THE DEFENDANT:     I did want to apologize --

15                THE COURT:    I think you should be concerned about

16    civil liability.

17                THE DEFENDANT:     I did have that in here, Your

18    Honor, to apologize to all of the officers.

19                THE COURT:    All right.

20                THE DEFENDANT:     I said they don't deserve that

21    incident.

22                THE COURT:    But I think the bottom line is -- you

23    have heard the statements of the relatives of Officer

24    Sicknick, and they're very telling and very sad.             And I'm

25    sorry they carry with them such a burden of loss and have
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1     not been able to cope with it better and have not been able

2     to...    It won't go away for them, but at least to be able to

3     better handle it because it's something that's going to

4     haunt them -- taken by their grief and sorrow and family

5     disruption by all of this.

6                 But as I said earlier, in the beginning of this, I

7     can't take into account a sentence that should include that

8     you're responsible -- directly responsible for the death of

9     Officer Sicknick.      I think there are conditions that you had

10    to consider when you did this, perhaps that what you were

11    doing would result in injuries to individuals and how that

12    could affect them.      But right now the coroner's report does

13    not give me any basis to use that against you directly in

14    the sentencing.

15                But what I am concerned about -- and I disagree

16    with Mr. Seigel on the disparity of sentencing.             I think his

17    case, as he pointed out, are matters of the U.S. Attorney's

18    Office charging decisions; that the Court has no control

19    over that, and that's up to the U.S. Attorney.             They can

20    charge people for various ways for various reasons.

21                Many people think the charges are unfair because

22    of the way that the decision is made, but that's not

23    affecting the sentence in a case.         There are many reasons

24    why the government brings charges and doesn't bring other

25    charges.    Most of the cases you have referred to are all
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1     ones that are sentencing within the guidelines.             They may

2     have done other things they should have had higher -- more

3     charges, but that wasn't what was before the Court.

4                 So, in this case, I have before me the guideline

5     range that we have discussed at length in this case.              So

6     people are clear what the guideline range is -- again, I

7     will repeat it for the record.        After having reviewed the

8     presentence report, I have also, as I said, read all of the

9     materials submitted to me by the parties, thoroughly, and

10    gone back through them all, and I am satisfied it's the

11    appropriate sentence in this case.

12                The range was 78 to 97 months.          78 months is 6

13    years and 6 months; 97 months is more than that by another

14    12 plus -- 17 months longer.        It's a rather tight range,

15    actually.

16                And I am not going to depart down from the range.

17    I find no basis to apply a variance in this case.             I find,

18    instead, I had three officers who were doing their duty, who

19    were not threatening anyone -- actually, all those three,

20    they didn't have the spray that the other officer had.                They

21    were standing behind the little bike racks and barricade,

22    and are suddenly sprayed by Mr. Khater.

23                For whatever reason he decided to do it, after

24    having worked his way through the crowd right to the

25    front -- sprayed them directly in the face.            They did not
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1     have all of the protective gear the other officers had on.

2     Officer Sicknick immediately reacted; you can see that.

3     Officer Edwards said he just turned pale white.             And she

4     wanted to help him and couldn't because she was blinded, as

5     we saw in the video.      She couldn't see where to move or

6     where to go.

7                 Then we saw the subsequent video of Officer

8     Sicknick where he's stumbling around for many minutes, up in

9     the patio trying to recover himself.          There was no question

10    he was affected by that spray.        It wasn't a minute

11    annoyance; he was out of action.         Other officers had to help

12    him.    Other officers had to break away from their duties to

13    help Officer Edwards as well.

14                The government also did not charge a third

15    offense; I can consider that under 5K of the guidelines, the

16    uncharged conduct.      This was charged conduct but not pled

17    to.    But I think it's sufficient for the Court to consider

18    this direct attack on these officers.

19                And I can't find any basis for accepting an

20    assault -- and I think it is a dangerous weapon -- on a

21    police officer standing there really not threatening anyone.

22    It wasn't as you were responding because they were going to

23    hit you with a club or something.         It makes no sense to me,

24    for your background.      And I don't accept the fact that you

25    had some anxiety attack and attacked people.
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1                 The anxiety attack you talked about -- your father

2     talked about is not doing that.         Your anxiety attacks are

3     being paralyzed.      You can't breathe; you can't move; you

4     can't do other things.      It's not that you lash out at other

5     people; I don't find that related at all.

6                 I am distressed that you, as a reasonable human

7     being, would come down for whatever reasons, after attending

8     the rally -- which is your right to do so, there is nothing

9     wrong with that -- legally wrong with that -- go down, and

10    this riot starts.      And there were some comments about

11    everyone's response to the riot, and actually that's

12    correct.    A riot doesn't happen without a mob.           A mob is

13    what a riot is, and the people in the mob join in with each

14    other.    And that's -- there is a generic responsibility for

15    that -- those actions.

16                You decided for your own reasons to partake in

17    that and to spray these officers.         I am not going to

18    sentence you any longer because the government argued that

19    you helped -- then the barricades break down, and that

20    caused the whole entry into the Capitol.            There were

21    thousands of people trying to do that; I am not holding you

22    responsible for that.

23                But I do think the sentence is appropriate that

24    I'm going to give you for your conduct at the Capitol.                It

25    was very clear there was a riot going on.            You didn't walk
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1     away from it; you knew it was going on.             You could see that

2     very clearly even in the brief exhibits we have here.                  There

3     are a lot of other exhibits that show more than that.

4                 And why -- you decided to leave your area, back

5     where Mr. Tanios was hiding, hanging out, and worked your

6     way slowly up over several minutes to be within a few feet

7     of the officers and sprayed them directly in the face.                 They

8     were temporarily blinded; disabled from performing their

9     duties for a period of time; needed some medical-type of

10    attention; assistance from fellow officers.             It just does

11    not compute with me this type of activity and people

12    thinking they can do this because they disagree with the

13    results of the election.

14                Now, you have served hard time.

15                You have served 1 year, 10 months and 14 days.                I

16    can say the nature of the offense -- I think that I am not

17    going to give you the maximum that's provided in the

18    guidelines.     The guidelines are advisory, I have reviewed

19    them; I think in this case they're appropriate.

20                I have reviewed for any possible variances, and I

21    don't see they apply to reduce the sentence.

22                I went through the Title 18 3553 factors.             We have

23    discussed that with your counsel and the government, I am

24    not going to go back through those again; but I have

25    considered each of those factors.
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1                 And concerning particularly that your counsel --

2     unfair type of sentences based upon the other offenses in

3     this case, in this riot.       But I am not going to give you the

4     maximum because I think you have served unfair time.              I

5     think the jail is a disgrace, and your treatment there

6     reflects, I think, an unfairness and disrespect the jail

7     personnel have for these defendants.          So that concerns me.

8                 I do think because of the nature of your actions,

9     which I find inexcusable, an assault on these officers --

10    the testimony of Officer Edwards -- you can see how

11    distraught and destroyed she is two years later, it's a

12    long-term effect.      And I accept that you have reflected on

13    this and that's something you would never do again; but I am

14    going to give you a sentence in accordance with what I think

15    is an appropriate sentence under the guidelines.

16                So under the Sentencing Reform Act and in

17    consideration of the Title 18 3553(a) factors and the

18    advisory sentencing guidelines, it is the judgment of the

19    Court that:     Julian Khater is committed to the custody of

20    the Bureau of Prisons for a current term of 80 months,

21    that's 6 years and 8 months, on Counts 2 and Count 3 to run

22    concurrently with each other.        You will get credit for time

23    served to date.

24                There is a concurrent term of 24 months, two-years

25    of supervised release, when you have served your time.
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1                 Additionally, a special assessment of $100 for

2     each count, for a total of $200, in accordance with

3     18 U.S.C. 3013.

4                 Now, as to a fine in this case, I don't know where

5     your $20,000 is.      You have no dependants.        And apparently

6     you had $20,000 when you came here, I guess from your hard

7     work that you have -- I cannot see why there should not be a

8     fine in the case as to what has happened in these matters.

9                 It really seems to me to be a problem that we

10    don't have the defendants paying some of the expenses that

11    have gone into by the government in these matters now to

12    prosecute these hundreds and hundreds -- now we're at 950;

13    we're probably going to get another thousand cases.              I think

14    there should be fines for people who are economically

15    available to pay it and have the economics, so it's not an

16    unfair -- placing them into poverty if they have to pay a

17    fine.    I am going to impose a fine in this case -- in your

18    case as well of $10,000 to be paid to the Clerk of this

19    court.

20                Now, you are going to be put on supervision.              Once

21    you get out of jail, on supervision, the conditions are all

22    of the mandatory ones and discretionary ones recommended by

23    the probation office here.

24                The mandatory ones always are:          You can't commit

25    any other crimes; you can't possess unlawfully a controlled
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1     substance; refrain from unlawful use of a controlled

2     substance; submit to a drug test within 15 days of placement

3     on supervision; two periodic drug tests thereafter, to be

4     determined by the Court; cooperate in the collection of DNA,

5     as directed by the probation officer; make restitution under

6     18 U.S.C. 3663 and 3663(a) or any other statute authorizing

7     restitution, which I will mention in a minute.

8                  I don't think you have any real drug habit, but

9     you have to, under the law, submit to substance abuse

10    testing to determine if you have a prohibited substance --

11    been using them once you get out of jail.

12                 Again, if there is any alcohol abuse, you will

13    participate in any inpatient/outpatient program as may be

14    necessary.

15                 Financial information to pay the fine and the

16    restitution -- I am going to order you to provide the

17    probation office access to requested financial information

18    and authorize the release of any as necessary; that may be

19    shared by the U.S. Attorney's Office to collect the fine and

20    restitution.        You must not incur new credit charges, open

21    additional lines of credit, without talking to a probation

22    officer.

23                 Once you are released from jail -- and you will

24    get credit for time served, plus credit for each year you

25    have served will reduce your time.           In 45 days, you will
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1     have to appear back before the Court for a reentry progress

2     hearing.    The probation office in the District you are

3     supervised will submit a progress report to the Court within

4     30 days of the commencement of supervision.            Once the Court

5     gets the report, it may determine if your appearance is

6     required.

7                 You are required to make restitution in this case,

8     pursuant to the plea agreement between you and your counsel

9     and the government, to the Architect of the Capitol of

10    $2,000.    As of now, it looks like over $2 million of damage

11    has been done to the Capitol.

12                The Court determines you do not have the ability

13    to pay interest, so I will waive any interest or penalties

14    that may accrue on the balance.         Restitution payments are

15    payable to the Clerk of this Court.          They will be disbursed

16    to the Architect of the Capitol as the victim, the Office of

17    the Chief Financial Officer, Ford House Office Building in

18    Washington, D.C.

19                The restitution should be paid at a rate to be

20    determined between you and the probation officer because of

21    your incarceration.      Normally, it's $100 a month, but I will

22    let them work on that with you as you will be imprisoned for

23    a while.

24                The financial obligations for the conviction,

25    which is for these two felony convictions, is $200; and they
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1     are due immediately to the Clerk of this court.

2                 The probation office can transfer and release the

3     presentence report to the appropriate probation offices to

4     carry out the treatment of the Court -- the orders of the

5     Court for any treatment that may be necessary.

6                 So let me ask, Ms. Baker, if you need anything

7     else in light of that?

8                 Now, I know you had a GoFundMe page, but I am not

9     going to assess what's left of that because of the necessity

10    for paying legal fees in your defense, as it may be

11    necessary in the future for your legal fees.

12                All right.    Ms. Baker, anything else you need?

13                THE DEFENDANT:     Thank you, Your Honor.

14                MR. SEIGEL:    Your Honor, before I step away, there

15    is just one housekeeping matter.

16                THE COURT:    All right.

17                MR. SEIGEL:    Because Mr. Khater's family lives in

18    New Jersey, we'd request that the Court make a

19    recommendation to the BOP that he be designated to Fort Dix.

20                THE COURT:    Fort Dix.      I felt that was true and

21    accurate, and I will do that.

22                MR. SEIGEL:    Thank you, Your Honor.

23                THE COURT:    Yes.     Certainly.

24                THE PROBATION OFFICER:        Your Honor, nothing else.

25    You've covered everything.
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1                 THE COURT:    All right.     That will be the sentence

2     of the Court.

3                 He can stay where he is.        I will inform Mr. Khater

4     through his counsel he can appeal the conviction and my

5     sentence to the U.S. Court of Appeals of D.C. if you believe

6     your guilty plea was unlawful and voluntary, or there's some

7     defect that was not weighed by your guilty plea.

8                 Additionally, you have a right both -- under

9     18 U.S.C. 3742A to appeal your sentence under certain

10    circumstances:      I gave you a sentence in violation of the

11    law or incorrect application of the sentencing guidelines,

12    or I gave you a more severe sentence than allowed for under

13    the maximum sentencing guideline range; I did not do that.

14                If you think your sentence was unfair because you

15    received ineffective assistance of counsel at sentencing,

16    you may appeal that.

17                Under 28 U.S.C. 2255, you have a right to

18    challenge the conviction entered or the sentence imposed as

19    set forth in that statute and, that is, if you had

20    ineffective assistance of counsel or you found new and

21    unavailable evidence later that showed you are not

22    responsible for the crime or for facts that should affect

23    your sentence.      You have 14 days after I file the entry of

24    judgment in this case to appeal.         If you can't afford the

25    cost of the appeal, that can be waived.
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1                 All right.    Does the government have any issues

2     with the sentencing at this time that they want to raise?

3                 MR. LIGHT:    No, Your Honor.

4                 THE COURT:    All right.      Thank you.

5                 THE COURTROOM DEPUTY:         Your Honor, may I ask a

6     quick question?

7                 THE COURT:    Sure.

8                 THE COURTROOM DEPUTY:         Will be you waiving

9     interest for the fine?

10                THE COURT:    Yes.     Yes.   If I didn't say that -- I

11    did for the restitution; same for the fine.             Thank you.

12                All right.    Thank you.

13                Mr. Khater, you can stay if you wish to hear the

14    sentence of Mr. Tanios or you can leave.

15                MR. SEIGEL:    Stay.

16                THE COURTROOM DEPUTY:         Will the government be

17    making a motion at this time?

18                MR. LIGHT:    We are, Your Honor.

19                THE COURT:    Yes.

20                MR. LIGHT:    Thank you.      As per the plea agreement,

21    the government --

22                THE COURT:    Go ahead.

23                MR. LIGHT:    As per the plea agreement, the

24    government would move to dismiss the remaining counts in the

25    indictment --
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1                 THE COURT:    All right.     All remaining counts in

2     the indictment against Mr. Khater will be dismissed.

3                 (Whereupon, the Court and staff confer.)

4                 THE COURT:    All right.     I am just reminded also

5     that the government had requested, in its filings I had

6     discussed with defense counsel, a restitution briefing

7     schedule for any damages suffered by the victims or the

8     responsible parties who paid their health care expenses,

9     et cetera, which can be done.        Actually, what I am going to

10    do in that case -- and I will pull up my notes on that.               It

11    can be referred to a magistrate judge to do that, if the

12    parties decide they wish to do that; it has to be done

13    within 90 days.

14                The chapter in question I am referring to is

15    18 U.S.C. 3664.      Under that, the procedures and issuance of

16    enforcement of orders of restitution -- it would be under

17    (d)(5).    If the victim’s losses are not ascertainable by the

18    date that is 10 days prior to sentencing, the attorney for

19    the government shall inform the court, which they did.                The

20    Court shall set a date for final determination of the

21    victim's loss, not to exceed 90 days of the sentencing.

22                The Court may refer any issue in connection with

23    this proposed order of restitution to a magistrate judge or

24    special master for findings of fact and recommendations,

25    subject to a de novo determination of the issue by the
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1     court.

2                 The government raised in their brief that MPD or

3     maybe the Capitol Police would have some expenses related to

4     the injuries to the officers; and they would have to file

5     that, if so, within the next 90 days or be waived.

6                 So I will put an order out shortly just giving

7     time for the government to raise that and a time for the

8     response by counsel for the defendant, and have a date set

9     in 90 days.     It will be done by another judge because I will

10    not be available to do it in 90 days, but that still has to

11    be done.    And I'll enter an order to that effect.

12                All right.    That will complete the sentencing of

13    Mr. Khater.

14                Those who are interested can leave, or they can

15    stay -- I will take up the sentencing of Mr. Tanios at this

16    time.    That will be -- Ms. Gross will be representing

17    Mr. Tanios.

18                All right.    The government is going to come up

19    first.

20                MR. SCARPELLI:     Good afternoon, Your Honor.

21    Anthony Scarpelli on behalf of the United States.

22                THE COURT:    All right.

23                MR. SCARPELLI:     The government is well aware that

24    the Court understands and appreciates the facts as they

25    apply to each defendant in this case by way of the hearings
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1     we have had, the pleadings we have filed, as well as

2     Mr. Light's presentation.          We'd ask that you incorporate

3     those facts as they apply to Mr. Tanios in the presentation

4     to Mr. Tanios.

5                 The Court is well aware that we have asked for a

6     guideline sentence.      The guideline in this case is zero to

7     six months; and Mr. Tanios has effectively served five

8     months and approximately 12 days.           So what we're asking for

9     is a time-served sentence, which is actually the higher end

10    of the guidelines.

11                We believe that sentence is appropriate under

12    the -- in looking at the 18 U.S.C. 3553 factors.                 The first

13    factor that the Court should look at is the nature and

14    circumstances of the offense.          In doing so, the Court should

15    go back to January 5th, 2021, the day before this incident.

16                And on January 5th, 2021, the defendant went into

17    a performance shop in West Virginia, a gun shop, and he

18    asked the store employee several questions.                One, he asked:

19    Can I bring a gun to Washington, D.C.?                He then asked:      Can

20    I bring this pepper ball projectile weapon to Washington,

21    D.C.?    He then asked:    Can I bring pepper spray to

22    Washington, D.C.?      He did, in fact, tell the clerk that he

23    planned to go to the Trump rally, presumably, a peaceful

24    event.    He also said he was going to be accompanied by a

25    friend, and that was Mr. Khater.
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1                  And on that day he purchased four canisters of a

2     substance:     two canisters of bear spray and two canisters of

3     pepper spray.       Almost 16 ounces of a bear spray.         I don't

4     mean to make a joke of it, but the only bears that I know of

5     in Washington, D.C. are in the National Zoo.             Why on earth

6     are you bringing weapons to a peaceful event?             They are

7     weapons.

8                  And the next day the defendant and

9     Mr. Khater traveled -- excuse me -- that night they traveled

10    to Washington, D.C.      They got a hotel room with those four

11    containers.     And the next morning they set out for the

12    January 6th rally carrying those items.             The defendant had

13    them in his backpack.

14                 When the rally was over, and they walked to the

15    Capitol, to the restricted grounds -- to an unlawful area on

16    federal property -- the defendant again had these canisters.

17    And if there was any thought that the defendant didn't know

18    what was in his backpack, it's certainly obvious when you

19    look at the conversational couch video, the social media;

20    because defendant Khater says to defendant Tanios:               Give me

21    the bear shit.      And defendant Tanios doesn't say:          I don't

22    know what you're talking about.         He says:      Not now, it's

23    early.

24                 And the reason why I bring up these facts, Your

25    Honor -- it's very important, in that this was not an
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1     isolated or spontaneous event; they were bringing weapons to

2     a fight.

3                  At the time, the defendant went to the Capitol, he

4     knew what was in his backpack.        He knew it was an illegal

5     area, and he also knew that the goal was disrupt and cause

6     problems there.

7                  And when you saw the image that my colleague

8     presented, I believe it was Slide No. 2, the question that

9     jumps out is:       When you see that chaos and thousands and

10    thousands of people on January 6th, why didn't you just go

11    home?

12                 In sum, Your Honor, the defendant's actions were a

13    mechanism by which defendant Khater was able to then get

14    these substances and provide them to him where he later

15    committed the assault.      And we make no allegation that the

16    defendant Tanios was involved in the assault.            What I am

17    saying is:     He brought him the mechanism to do it.

18                 After the event, defendant Tanios posed.           He

19    memorialized what he was doing in the illegal area.              Not

20    only did he memorialize it; but, Your Honor, if you look

21    closely, he is flipping two middle fingers.            I think that

22    speaks for itself.

23                 Therefore, the nature and circumstances of this

24    offense clearly warrant the sentence that the government is

25    asking for, in that a guideline sentence -- we also, in
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1     making our recommendation, take into account the nature

2     and -- the history and character of the defendant.

3                 As the Court is aware, he is a 41-year-old man

4     with a family and was at times a businessman.            The defendant

5     has apologized for his unlawful behavior, and he has

6     accepted responsibility.

7                 Additionally, since his release from custody from

8     this Court's detention order by way of the Court of Appeals,

9     he has shown, by complying with his conditions of release,

10    that he can live a law-abiding life.          He will, in fact, be

11    on supervised released likely for 12 months, where he will

12    still be monitored by court -- by the court system.

13                Additionally, the Court must look at the need for

14    the sentence to reflect the seriousness of the offense and

15    to promote respect for the law; and we believe that this

16    sentence does, in fact, do it.        It's the high end of the

17    sentencing guidelines.      And what this message sends to this

18    defendant and to the public, that committing these type of

19    acts will not be looked at lightly and the Court will take

20    them seriously.

21                Your Honor, our country was built on the concept

22    of freedom, on the concept of promoting respect for the law,

23    and on the concept of respecting one another.            On

24    January 6th, 2021, Mr. Tanios was a player in an attempt to

25    undermine what the United States built and what the
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1     United States stands for.          And for that, we ask this Court

2     to sentence him in accordance with our recommendation in our

3     sentencing memo.

4                  Lastly, I would tell the Court, as you look at

5     those videos, it's inescapable the incredible work that law

6     enforcement did on January 6th.           You look at those videos,

7     and you see law enforcement is so outmatched, yet they do

8     their best to do their job.

9                  Additionally, since January 6th, law enforcement

10    has continued to do incredible work in determining and

11    finding facts and evidence to bring individuals who

12    committed these acts on January 6th to justice.

13                 And, lastly, law enforcement including the Capitol

14    Police, the Metropolitan Police Department, the FBI, and all

15    other law enforcement agencies continue to work and do

16    incredible work.      Mr. Light and I are proud to be working

17    with them.

18                 Your Honor, that's all the government has with

19    respect to defendant Tanios's sentencing.              We're happy to

20    answer any questions you may have with respect to his

21    sentencing.

22                 THE COURT:   No.      I mean, that was the plea that

23    you agreed to, so that's where we are to start with.

24                 That's all right.       Thank you.

25                 All right.   I do have a couple of questions for
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1     Ms. Gross, and we can get into this.

2                  Thank you, Mr. Scarpelli.

3                  Just for the record, again, I reviewed everything

4     that was submitted.       I saw the videos on YouTube, which is

5     called a mitigation video by Ms. Gross, very professionally

6     done, concerning Mr. Tanios and his friends and his longtime

7     fiancée, the family -- what his situation is, and what he is

8     all about.

9                  In that regard, I wanted to start off a question

10    with you, and I can give you these documents if you wish.

11    He had a GoFundMe site.

12                 MS. GROSS:    Yes.

13                 THE COURT:    I didn't get a chance to look at that;

14    it was taken down recently.        We had some --

15                 MS. GROSS:    I was aware of it a while ago.

16                 THE COURT:    On the site, it shows him with his old

17    sandwich shop which he's lost as a result of this.

18                 MS. GROSS:    Yes.

19                 THE COURT:    On the site, they have a figure of --

20    about $60,000 was collected, and we'll see where that goes.

21    But he has some quotes in that that were done I think in

22    November last year; so not that long ago, as follows:

23                 He refers to himself and others charged in

24    connection with the January 6 riots as:             A political

25    prisoner.
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1                 I look forward to my day in court and clearing my

2     name of these charges fabricated against me, Tanios wrote in

3     a November 13th post.

4                 Life is all about rebound.        God's a winner.         I am

5     a winner.    You are all winners, that's why they hate us so

6     much.

7                 And then, a couple more paragraphs down, he thanks

8     everyone who prayed for him and his family.            Then he says:

9     Your support is felt, really helped us through this.

10                Words cannot express what it's like to know you

11    God-fearing American patriots -- are paying and donating

12    hard-earned money to help you out in a time of struggle,

13    real tears.     And then:   It's bittersweet knowing that many

14    people are still languishing in prison, and many others are

15    being hunted down still, Tanios wrote in September.              I pray

16    the truth comes out, and for their protection.

17                And, finally, he closed the message with:            Let's

18    go Brandon.

19                I am bringing this up because his acceptance of

20    responsibility issues, and how I am to review that.

21                In another post he said on the page -- on this one

22    I don't see a date -- December 2021, Khater's fundraising

23    claim says:     The FBI and media are exploiting small

24    fragments of videos of Julian and his codefendant George

25    Tanios without offering the full context.            This is being
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1     done intentionally to provide a convenient story line that

2     matches their interpretation or misinterpretation.

3                 Actually, in fairness, that is probably referring

4     to another GoFund page that Julian Khater had.

5                 MS. GROSS:    I am not sure about that one --

6                 THE COURT:    I'm just concerned about the

7     statements reflecting and accepting responsibility, how I

8     think he's not really regretful about what happened.

9                 MS. GROSS:    Sure.    I think that's a fair question.

10                I can't speak to his statements on there.            I do

11    know -- or believe I know that the dates on the statements

12    were after -- or prior -- were made prior to him accepting

13    responsibility and taking a plea of guilty in front of this

14    Court.

15                So I believe there has been a change in Mr. Tanios

16    since the comments that were allegedly written by him on

17    that site, and where we stand today in front of this Court.

18    There has been a change of acceptance of responsibility and

19    in, really, remorse for his actions for that day.

20                Mr. Tanios does take responsibility for the

21    offenses that we're here in front of the Court for today.               I

22    can't say that any more than what he wrote or if he wrote

23    that on those sites.      It's my understanding that that would

24    have been prior to accepting responsibility literally in

25    front of the Court.      So that's why I think the Court
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1     shouldn't take those comments in consideration of taking

2     away acceptance of responsibility or believing in his

3     acceptance of responsibility at this time.

4                  THE COURT:    In both these cases, I have been

5     impressed for the defendants not having a lot of web

6     activity and media activity and various social media fronts

7     as everyone else has in these cases.          I mean, it's the only

8     defendants so far I have seen that haven't posted a lot.

9     This is the first indication I have seen in this case of

10    posting their political beliefs affecting their conduct.

11                 The other ones are very proud that they attacked

12    the Capitol and brag about it.        This is the first time I

13    have seen this in the Tanios case where he is -- after the

14    fact, has come in sort of saying it's a political

15    prosecution, it's all phony; we didn't do anything wrong,

16    basically.

17                 MS. GROSS:    I understand this Court's concern.

18    Did I address it sufficiently for the Court to move on at

19    this time?

20                 THE COURT:    Yes.

21                 MS. GROSS:    And as far as the GoFundMe amount, I

22    know Mr. Scarpelli and I briefly discussed that as far as

23    restitution goes.      And, you know, I -- I think that

24    Mr. Tanios -- and I don't know what is left in that account

25    at this time.       But Mr. Tanios would have no objection to the
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1     Court, as a part of his acceptance of responsibility, taking

2     some of those funds as part of restitution.

3                  THE COURT:    All right.      Yeah.      He had raised

4     $60,000; I don't know what's left.            I haven't gotten a study

5     done of that.       They may know.

6                  MS. GROSS:    I believe it's in the presentence

7     report, the amount that is available --

8                  THE PROBATION OFFICER:        Paragraph 80.

9                  MS. GROSS:    There is 80?

10                 THE PROBATION OFFICER:        Paragraph 80.

11                 MS. GROSS:    Oh, paragraph 80.          Sorry.

12                 I was like, I don't think so.

13                 But that amount that is left over -- I want to

14    make the Court know that Mr. Tanios is available to give

15    that money to the Court for restitution.

16                 THE COURT:    He is in a little bit of a different

17    category.    He has a family; he is not really working a

18    full-time job.      He's trying to support his family.             His wife

19    has a job with his three little children, and doing some

20    eBay work.     We'll see what money is available.

21                 MS. GROSS:    Thank you.

22                 Judge, I know the Court has reviewed our

23    sentencing mitigation video, as well as our sentencing

24    memorandum.     I am not going to go and review all of those

25    details for the Court at this time.            I know the Court has
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1     reviewed it.

2                 But I do want to talk briefly about why we're

3     requesting time served for Mr. Tanios.              The 5 months and 12

4     days that Mr. Tanios served -- we're asking for that to be

5     his sentence, with one year of supervised release, just as

6     everyone else has recommended to this Court.

7                 And I know that the Court is concerned about

8     acceptance of responsibility, and I know all these other

9     people are too; I think that's a very fair concern.

10                I want everyone to know that, unfortunately, due

11    to the nature of other cases being out there, I have advised

12    Mr. Tanios not to speak to anyone or say anything to the

13    Court or anyone else at this time.          That doesn't mean he is

14    not apologetic, I just can't advise that at this time; so I

15    fall on that sword, and that's why he cannot do so.

16                But he said on the video that he does accept

17    responsibility for the crimes he committed and the offenses

18    he pled guilty to.      He regrets ever going to Washington,

19    D.C. that day; he also told us on that video.              He

20    understands he can't change his past, but he is learning he

21    can try to overcome it now with making a positive

22    difference.     He has changed dramatically since the first day

23    I met him, and he is trying to change his future for his

24    small family and support them as best he can.

25                He has demonstrated that he is at a low risk of
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1     recidivism, that being because he has been compliant on

2     bond.    He has been on home incarceration for quite some

3     time.    Following all those rules are difficult for most

4     defendants; he has done that perfectly the entire time.

5                 He has tried to gain steady employment.             His

6     employment, although sporadic, is helpful to his family.                 He

7     is trying his best.      He is retaining close personal

8     relationships; he has a stable family.              He lives with his

9     family and tries to support them as much as he can.

10                He is a Criminal History Category I, that's also a

11    reason to be at low-risk of re-offending.              And what's more,

12    is that a sentence of time served is what is recommended by

13    the guidelines and is actually the high end of the

14    guidelines in this case; and I believe it's consistent with

15    similarly situated individuals, like his case.               It's also

16    probably the reason why the government is in agreement in

17    recommending this time-served sentence.             And it's also

18    consistent with what our officers of the court of the United

19    States Probation Office, they agree that this sentence is

20    appropriate as well.

21                Really, a time-served sentence in this case is

22    sufficient but not greater than necessary to achieve the

23    goals of sentencing.      Mr. Tanios is deterred; that's for

24    sure.

25                Given the backdrop of the agreement for the
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1     appropriate sentence between the United States Probation

2     Office, the government, and what we recommend, you know, I

3     think anything -- it's an appropriate sentence just for that

4     reason alone, and anything more really would give the notion

5     of a disparity in this case.          It's unusual to have everybody

6     in agreement for an appropriate sentence, at least in my

7     experience; it's super unusual.           And I believe that is just

8     one other reason that tips the scale to say that this is

9     appropriate.

10                If the Court has any other questions for me, I am

11    happy to address them.

12                THE COURT:    No.      I would like to hear from

13    Mr. Tanios, if possible.        I understand he is restricted in

14    what he can say, as Mr. Khater had the same condition

15    because of the civil litigation.

16                MS. GROSS:    I have advised him not to speak, but

17    if the Court would really like that...

18                THE COURT:    Well, he has a right to speak.            If he

19    can come up here and tell me he is waiving his right, then

20    he doesn't have to speak.

21                MS. GROSS:    Okay.

22                THE COURT:    It's his opportunity to speak.            If he

23    chooses he can't do it, that's fine.

24                THE DEFENDANT:      Sorry, Your Honor.        I am waiving

25    my right to speak.
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1                  THE COURT:     All right.    Thank you.

2                  You have a right to address the Court at the time

3     of your sentencing, but you can waive that right.                I will

4     accept that because of your counsel's advice, unfortunately.

5     Stay here, though, so I can give you the sentence in this

6     matter.

7                  I am concerned a little bit in this in that, as I

8     pointed out -- and your counsel doesn't want you to speak

9     about it -- that your prior comments on your GoFundMe page

10    indicate still radical beliefs that compelled you to come

11    down to the lecture, and then go to the riot; and once you

12    saw a riot was going on, not to leave.               And you had brought

13    your weapons with you, you said for self-protection; but you

14    still had them with you to use aggressively as well as

15    defensively.

16                 I am going to trust now that you still are not

17    bound by those beliefs that would cause you to go back when

18    Mr. Trump tries to run again for office and go back to his

19    rallies and start getting in trouble.           Because I am going

20    to -- the other thing in sentencing, I'm going to put you on

21    probation.     If you violate that, I will have you yanked back

22    in here.

23                 But I have to accept the pleas; the government

24    accepted it.        They accepted this plea that you entered and

25    remained in a restricted building or grounds, and then had
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1     some disorderly or disruptive conduct in the grounds by

2     carrying the weapons around with you.          But both are

3     misdemeanors, both carry up to a six month in jail sentence;

4     you have served almost six months in jail.            You have

5     basically served, except for a few days, the time that I

6     would sentence you to.

7                 I am concerned about a couple of things; I have

8     mentioned what they were, about your personal conduct being

9     affected by your political beliefs.          And we can't have that

10    happen.

11                What really concerns me, I guess, in all of these

12    cases -- I've had lots of these, as well as the other judges

13    have had -- and I'm concluding my service, I won't have many

14    more of these.

15                But over the past couple of years what really we

16    have had in this January 6 riot is not just the attack on

17    democracy, not -- it's so serious it's hard to really put it

18    in words.    What I have seen is a venom of hate-filled

19    individuals, and I am not sure where that has come from in

20    this country; but they literally hate people they disagree

21    with.    It's not a disagreement; they hate them, and they

22    want to hurt them.      Something has come out in this country

23    that's very, very serious, and it results in violence that

24    is continuing everywhere today in this country, for whatever

25    reason.    It's resulted in mob rule attempts, it's resulted
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1     in anarchy in this riot that we had.

2                 And the riot essentially reflects the lynch mobs

3     of 100 to 150 years ago.       People who are decent people who

4     get enthralled in lynching, and get involved with lynching

5     people.    The next day they wouldn't admit it, they would

6     hide from it; but during the time they were very happy.               We

7     have gotten to that kind of normal activity here, and I

8     think we have to realign our values in this country.

9                 It's a serious disregard of our moral status and a

10    reflection of holding life as precious, I think.             Because of

11    our own personal feelings about something, they think it's

12    all right to hurt someone or kill them, or attack the police

13    who are standing there doing their duties.            It's a shame

14    where we are now.

15                But as to Mr. Tanios, you have an opportunity with

16    your little children -- you are very lucky to have those

17    little children, very fortunate -- to try to rebuild your

18    life.    You had your sandwich shop.        It was a fairly

19    successful shop at the University of West Virginia.              You had

20    some monikers for them online that were very interesting,

21    I'll say that, and leave it there.

22                You had a sandwich shop that was running

23    successfully and had done well.         You have lost that as a

24    part of this; that's one of the other punishments, really,

25    because of the disgrace you are in by being part of this
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1     riot.    And I think that's appropriate, frankly.

2                 But your sentence is already served that I could

3     give you.    I could add -- I forget -- a few days, but that

4     makes no sense.      What I really want to see is that you are

5     out of your status of your anger and mentality of being

6     picked upon and unfairly politically prosecuted because you

7     were in a riot.      That's not politically prosecuting anybody

8     because you took place in a riot and damaged goods and hurt

9     people.    You didn't directly, but you helped cause it.              That

10    is not an unfair situation that you find yourself in.

11                I am going to give you a little bit of a different

12    sentence than probation, the government, and your counsel

13    had requested, as to some details as part of your sentence.

14                I have reviewed all of the factors -- the Title 18

15    factors -- 3553(a) factors that we have discussed, and the

16    (a)(2) factors.      I think it's fitting that this type of

17    sentence is in your case based upon the plea that is before

18    me.   I cannot give you a longer sentence; frankly, that

19    would be inappropriate in this case.

20                So I am going to do that, but I am going to change

21    a little bit of how the sentence is going to read in this

22    case.    You have a zero to six month guideline range.            You

23    have served almost six months, so I am going to give you

24    credit for time served and sentence you to time served.

25                I am going to add a couple of factors to this
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1     sentence for you.      One is, under the Sentencing Reform Act,

2     as I said, the Title 18 3553(a) factors and the advisory

3     guidelines:     George Tanios, you are committed to the custody

4     of the Bureau of Prisons for time served; and that will be

5     concurrent sentences as to Count 1 and 2, that's 160 days

6     you've served, basically.

7                  There is concurrent served -- time to be sentenced

8     to a concurrent term of 12 months of supervised release,

9     that's one year, as to Counts 1 and 2; a special assessment

10    of $25 per misdemeanor, for a total of $50.

11                 I am going to transfer jurisdiction of this case

12    to the United States District Court for the Northern

13    District of West Virginia because that's where you live and

14    can be followed on supervision; that's where you are going

15    to report.

16                 While on supervision, you will abide by all of

17    these mandatory conditions, in addition to the discretionary

18    conditions recommended by the probation office.

19                 Now, the mandatory is all the same:          You cannot

20    commit any other crimes; not unlawfully possess a controlled

21    substance; refrain from unlawful use of a controlled

22    substance; report to a drug test within 15 days of placement

23    on supervision, and two periodic drug tests thereafter as

24    determined by the Court.

25                 You will have to make restitution under 18 U.S.C.
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1     3363 and 3363A; follow any special conditions in order to

2     make the restitution and, also, a fine that I am going to

3     impose.

4                  You must provide the probation officer access to

5     any requested financial information, authorize the release

6     of any financial information that can be shared with the

7     U.S. Attorney's Office.      You will incur -- you will not

8     incur new credit charges or open new lines of credit without

9     talking to the probation office and getting their approval.

10                 I will require community service.         You are not

11    employed full-time.      You are taking care of three little

12    children, two little teeny ones; I understand that.              But

13    there is time, when your wife is not at work, you can do

14    some community service.      I am going to give you 100 hours of

15    community service.      The government had requested longer than

16    that; I don't think that's probably appropriate in your

17    situation.

18                 That community service will be as approved by the

19    probation officer in the district you are being covered.

20    You will have to provide written verification of completed

21    hours to the probation officer.         Many of those are working

22    in hospitals or at food banks, et cetera, that you have had

23    some experience with.

24                 Firearm restrictions.      You have to be restricted

25    on probation on the use of firearms and possession of
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1     firearms in areas you have access over.             All right.

2                  You don't -- I think on a fine -- I am going to

3     fine you whatever is left -- I have an order I can enter to

4     that regard here -- whatever is left in your GoFundMe page

5     that you had.       And I refer to that -- it's a little ironic,

6     that page.     It's supposed to be a Christian crowdfunding

7     site.    Looking at those pages and the remarks of those

8     people, it's not very Christian.

9                  But in any event, any moneys left in that GoFundMe

10    page at this time will be fined; you will be fined that

11    amount.

12                 Now, I will talk to probation about that -- the

13    order, basically, would be that your conviction under this

14    subsection under the law is subject to the statutory maximum

15    fine as set forth in the guidelines.

16                 I have to consider your income, your earning

17    capacity, and financial resources; so I have done that.                I

18    don't think you can really pay any large fine.              In assessing

19    a defendant's income and earnings, I can consider where you

20    have other moneys that are available.

21                 And, again, there are some judges that have

22    written their concerns about these defendants having large

23    GoFundMe pages capitalizing on their crime, making money out

24    of their crime.      Some defendants have raised hundreds of

25    thousands of dollars, and that's a serious concern we're
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1     going to have to address.

2                 But a fine in this case is appropriate.            You have

3     raised funds in an online campaign of approximately

4     $70,000 -- $60,000, I believe.        That was to be used for your

5     legal fees, although you got a public defender.              I assume

6     it's for your expenses and living because lost your job and

7     you were in jail for almost six months.             And under the

8     restrictions, you are confined at home for another year.

9     And that's part of the reason I think your sentence is

10    appropriate, because you are actually locked up for another

11    year beyond the six months.

12                Additionally, you have expenses coming down here,

13    I assume, now.      But whatever funds are left, I am going to

14    request you be fined the remaining amount in your GoFundMe

15    account established by your family or your wife earlier.

16    And you should not be able to capitalize and make money from

17    having raised those funds for your legal defense, et cetera.

18                I am going to enter an order to that effect based

19    upon the income you derived from this GoFundMe fundraising

20    account.    I will enter an order to that effect as the fine

21    in this case; there will be no interest or anything on that

22    fine.

23                You will have restitution ordered to pay for the

24    damages that occurred during the riot at the Capitol.

25                Your restitution pursuant to the plea agreement is
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1     $500 to the Architect of the Capitol.          There will be no

2     interest or penalties paid on that, on the balance.              You

3     will pay it to the Clerk of this Court here in D.C. for the

4     benefit of the Architect of the Capitol.            And you will have

5     to pay it as in -- I will allow you to work out a payment

6     schedule with the probation office, but it should be paid

7     within one year.      It's $500.    So in your limited funds, you

8     can at least pay $50 a month, whatever the probation office

9     works out on a payment schedule on this one.

10                MS. GROSS:    Judge, we instructed him to pay before

11    today.    So --

12                THE COURT:    Say it again.

13                MS. GROSS:    I believe he has already paid.          We

14    instructed him to pay before coming today out of that fund.

15                THE COURT:    All right.     If you did that, that's

16    fine.    It's better to get it out of your way.

17                All right.    The probation office -- they need to

18    forward the presentence report to the appropriate agency,

19    like the West Virginia probation agency and it includes, as

20    I said, the probation officer in the approved district where

21    you live.

22                Again, you have a right to appeal, if you wish, if

23    you think your guilty plea is unlawful or involuntary, or

24    there is some defect in these proceedings.

25                Again, you have the right to appeal your sentence
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1     if you think I gave you an illegal sentence or have given an

2     over the guideline sentence; I did not do that.

3                 And you have a right under 28 U.S.C. 2255 to

4     collaterally challenge your conviction or sentence imposed

5     upon the discovery of new and unavailable information that

6     would affect your plea and sentence, or your counsel

7     performed ineffective assistance of counsel.            You have 14

8     days to note the appeal after I enter the judgment.

9                 Ms. Baker, anything else you need for the

10    sentence?

11                THE PROBATION OFFICER:       No, Your Honor.

12                I just want to advise Mr. Tanios to meet with me

13    immediately afterwards to be signed up to probation, which

14    is supervised release.

15                THE COURT:    All right.     We'll make sure he stays

16    here and talks with you when he finishes here.             All right.

17                MS. GROSS:    No problem.

18                THE COURT:    All right.     Are there any -- he

19    doesn't have to have anything dismissed because he pled to

20    the information we had.

21                MR. SCARPELLI:     We would move to dismiss the

22    indictment.

23                THE COURT:    The original indictment against him.

24                All right.    We will dismiss the original

25    indictment against Mr. Tanios at this time.
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1                  All right.     Counsel, thank you for your work in

2     this case, both counsel -- both sides, in both cases -- I

3     appreciate you coming in and doing it.

4                  I wanted to talk to Mr. Scarpelli and Mr. Light

5     for a minute, but I don't want to do so with other counsel

6     not there.     After you finish with your clients, in about 15

7     or 20 minutes, I would like lead counsel to come back so I

8     can -- I have something to say to Mr. Scarpelli, if that's

9     all right.     Thank you.

10                 We will stand in recess.

11                 (Whereupon, the proceeding concludes, 5:26 p.m.)

12                                   * * * * *

13                                  CERTIFICATE

14

15                 I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby

16    certify that the foregoing constitutes a true and accurate

17    transcript of my stenographic notes, and is a full, true,

18    and complete transcript of the proceedings to the best of my

19    ability.

20               This certificate shall be considered null and void

21    if the transcript is disassembled and/or photocopied in any

22    manner by any party without authorization of the signatory

23    below.

24         Dated this 7th day of February, 2023.

25         /s/ Elizabeth Saint-Loth, RPR, FCRR
           Official Court Reporter
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